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                 EDUCATION MANAGEMENT CORPORATION




                      REPORT OF THE LITIGATION COMMITTEE

                                 DATED MAY 31,2012




                                                     Leo F. Mullin
                                                     Paul J. Salem




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I.     EXECUTIVE SUMMARY

       A committee ofthe Board of Directors of Education Management Corporation (the

"Litigation Committee" or the "Committee") has conducted an investigation in response to two

shareholder demand letters received by the Company. The Litigation Committee consists of Leo

Mullin and Paul Salem, both of whom are "disinterested" directors of the Company under the

standards set forth in the American Law Institute's Principles of Corporate Governance ("ALI

Principles") and adopted by Pennsylvania comis. This report summarizes the investigation and

conclusions reached by the Litigation Committee.

       Education Management Corporation ("EDMC") is among the largest providers of private

post-secondary education in North America with 104 locations in the United States and Canada.

Headquartered in Pittsburgh, Pennsylvania, and founded there in 1962, EDMC employs

approximately 19,000 full-time, part-time and adjunct faculty and staff. As ofMay 9, 2011,

EDMC had approximately 151,200 students enrolled in its four educational systems: The Art

Institutes, Argosy University, Brown Mackie Colleges, and South University.

       EDMC offers a broad range of undergraduate and graduate academic programs, ranging

from doctoral degrees to specialized non-degree diplomas. These programs include design,

media arts, health sciences, psychology and behavioral sciences, culinary, fashion, business,

legal, education and information technology. Students attending EDMC schools in the United

States are eligible to participate in federal student loans, grants and other forms of public and

private financial aid programs, since each school is licensed or permitted to offer post-secondary

programs by the state in which it is located, accredited by a national or regional accreditation

agency and certified by the United States Department of Education ("DOE").

       Against this background, EDMC received cetiain demand letters sent on behalf of the

Oklahoma Law Enforcement Retirement System ("OLERS"), a shareholder in EDMC, dated


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August 19, 2011 and January 19,2012 (collectively, the "Demand Letters"). On March 6, 2012,

the Litigation Committee infonned counsel for OLERS of its findings with respect to certain of

the claims in the Demand Letters. In particular, the Litigation Committee informed OLERS of

its conclusion that EDMC has in place an appropriate system of internal controls to identify,

deter and remediate the types of claims identified in the Demand Letters. The Litigation

Committee also invited OLERS and its counsel to provide additional facts in support of its

assertions. No additional information has been provided.

       Thereafter, on May 16, 2012, the Litigation Committee advised counsel for OLERS that

it was in the process of finalizing its investigation into the remaining aspects of the claims raised

by the Demand Letters. The Litigation Committee again invited OLERS's counsel to provide

further evidence in support of its assertions. Counsel for OLERS did not respond to the May 16,

20 12 letter. Instead, on May 21, 2012, 0 LERS filed a Complaint against all of the directors of

EDMC alleging a breach of fiduciary duty arising from the conduct identified in the Demand

Letters. Shortly thereafter, on May 24, 2012, the Litigation Committee provided OLERS with a

letter setting forth its remaining findings. 1 The Committee then finalized this Report,

memorializing its findings and conclusions in a comprehensive written report for submission to

the Court, as necessary.

       A.       SUMMARY OF DEMAND LETTERS AND FINDINGS OF THE LITIGATION
                COMMITTEE

       The Demand Letters assert three principle claims against EDMC's directors and officers,

as follows:




   A copy of the Demand Letters and related correspondence, through the date ofthis Report, is contained in the
   Appendix herein.



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        First, the Demand Letters assert that the plan utilized by EDMC to compensate its

admissions personnel violated Title IV of the Higher Education Act of 1965's (the "Act") ban on

incentive compensation (the "Title IV Claim"). The factual basis for the Title IV Claim rests on

allegations made against EDMC, in its corporate capacity, in a pending federal court action

brought against the Company for alleged violations of the False Claims Act. See United States,

et al., v. Education Management Corp., et al., 2:07-cv-0461-TFM (W.D. Pa.) (the "False Claims

Act Litigation"). The individual members ofEDMC's Board of Directors are not named as

defendants in the False Claims Act litigation.

        Second, the Demand Letters allege that EDMC's supposed failing financial health caused

an increase in the letters of credit that it posted, as required by the DOE (the "Letter of Credit

Claim"). The factual basis for the Letter of Credit Claim appears to be a routine disclosure made

by EDMC in the annual report (or Form 10-K filing) for the fiscal year ending December 31,

2011.

        Third, the Demand Letters asse1i that EDMC "systematically falsified job placement data

for its graduates in order to maintain accreditation for its institutions" (the "Fraudulent Job

Placement Claim"). The factual basis offered for this claim is certain testimony provided by an

ex-EDMC employee before a U.S. Senate Committee in 2011.

        Counsel for OLERS apparently recognizes that the individual directors ofEDMC cannot

be held liable for the day-to-day acts or omissions ofEDMC's employees. Accordingly, the

Demand Letters assert that the individual members ofEDMC's Board of Directors breached

their fiduciary duties to the Company by not implementing an adequate system of internal

controls to detect and prevent the alleged underlying misconduct. In this regard, the Demand

Letters state "[t]he conduct described above pervaded the entire EDMC system and was known




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to members of higher management" and "the Board [should] ... immediately establish internal

controls sufficient to ensure that if such compensation and recruiting practices occur at the

company in the future, those practices will be brought promptly to the attention of the Board of

Directors so that they can be eliminated before they cause the Company any legal liabilities."

       The Litigation Committee has conducted a thorough and careful investigation into the

matters raised in the Demand Letters. As set forth below, the evidence does not support a

finding that the conduct at issue pervaded the entire EDMC system or was known to senior

management, as claimed in the Demand Letters. Further, the Litigation Committee determined

that the Company has a robust set of internal controls that are properly designed to identify, deter

and remediate the types of allegedly deceptive and questionable practices referred to in the

Demand Letters and the GAO report. These internal controls are supported by a properly

designed and staffed corporate governance structure. The Committee also concluded that there

has been no breach of fiduciary duty by the directors ofEDMC in connection with their

oversight of the internal control and corporate governance systems in place at EDMC.

Accordingly, the Litigation Committee has determined that it would not be in the best interests of

the Company or its shareholders to take the actions demanded in the Demand Letters.

II.     BACKGROUND OF THE LITIGATION COMMITTEE'S INVESTIGATION

       EDMC, one of the largest providers of private post-secondary education in North

America, was part of a broad investigation conducted by the United States Government

Accountability Office ("GAO") (report dated August 4, 2010, ("GAO Report")) in which the

GAO sent undercover representatives to meet with admissions and financial aid representatives

at fifteen for-profit colleges. According to published repmis, only one ofEDMC's 104

schools-Argosy University in Chicago, Illinois ("Argosy University- Chicago")-was part of




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the GAO investigation. Significantly, no claim was made by the GAO that any ofEDMC's 104

schools engaged in the type of improper conduct identified in the Demand Letters.

           On November 30, 2010, the GAO released a revised report that made substantial changes

to its initial findings. With respect to Argosy University- Chicago, the revised GAO report

removed one negative allegation regarding EDMC and left intact its finding with respect to the

good practices attributed to EDMC. Once again, no allegations or findings are contained in the

revised GAO Report with respect to the issues raised in these Demand Letters.

           On August 11, 2010, a securities class action complaint was filed against EDMC in Gaer

v. Education Management Corp., Case No. 2:10-cv-0161, W.D. Pa. ("Gaer Litigation"), which

was largely premised upon the same allegations underlying the GAO Reports. On March 28,

2011, EDMC filed a motion to dismiss the Gaer Litigation. On September 29, 2011, United

States District Judge Nora Fischer adopted the report and recommendations of the Magistrate

Judge and dismissed all claims with prejudice. Plaintiffs initially appealed this decision;

however, on April 18, 2012, Plaintiffs voluntarily abandoned their appeal.

III.       THE LITIGATION COMMITTEE PROCESS

           A.       EDMC'S ESTABLISHMENT OF A LITIGATION COMMITTEE

           The Board of Directors ofEDMC formed the Litigation Committee in November 2010 in

response to the issues raised by the GAO Report. 2 The Litigation Committee was established

pursuant to Section 1731 of the Pennsylvania Associations Code, Title 15 Pa. C.S., including

Subpart B known as the Business Corporation Law of 1988 and Section 3.1 of the Company's

Amended and Restated Bylaws.


2
       The Litigation Committee previously undertook an extensive review ofEDMC's internal controls, in response
       to allegations made in certain demand letters received by the Company in 20 I 0. Where appropriate, the
       Litigation Committee utilized the knowledge developed during that prior review, including the investigative
       findings made therein, in preparing this Report and reaching the conclusions set forth herein.



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       The Board delegated to the Litigation Committee the power and authority to: review,

analyze, and investigate any allegations of misconduct or breach of fiduciary duty at EDMC;

engage legal counsel and other experts to conduct the investigation; and determine the

appropriate actions, if any, the Company should pursue in response to related inquiries or

demands from shareholders. Consistent with this delegation of authority, the Board requested

that the Litigation Committee also investigate the allegations made in the two Demand Letters

sent on behalf of OLERS.

       EDMC directors Leo Mullin and Paul Salem have at all times served as the members of

the Litigation Committee. As set forth below, Messrs. Mullin and Salem are "disinterested"

directors under the standards set fmih in the ALI Principles. As such, their decisions are subject

to the protections offered to directors of Pennsylvania corporations under the business judgment

rule. See Pa. C.S. § 1715(d).

               1.      Composition Of The Litigation Committee

       Leo F. Mullin serves as a director on the Board and is the acting chairman of the Audit

Committee of the Company, where he has been certified as an independent director pursuant to

the Sarbanes-Oxley Act of 2002 ("SOX") and the NASDAQ Rules. He retired as the Chief

Executive Officer of Delta Air Lines, Inc. in December 2003 and Chairman in April 2004, after

having served as ChiefExecutive Officer since 1997 and Chairman since 1999. Mr. Mullin

currently serves in a consultative capacity as a Senior Advisor, on a part-time basis, to Goldman

Sachs Capital Partners. He also was Vice Chairman of Unicorn Corporation and its principal

subsidiary, Commonwealth Edison Company, from 1995 to 1997. He was an executive of First

Chicago Corporation from 1981 to 1995, serving as that company's President and Chief

Operating Officer from 1993 to 1995, and as Chairman and Chief Executive Officer of American

National Bank, a subsidiary of First Chicago Corporation, from 1991 to 1993. Mr. Mullin serves


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as a director of Johnson & Johnson, a publicly traded manufacturer of pharmaceutical and

healthcare products and ACE Limited, a publicly traded provider of insurance and reinsurance

services as well as several private companies in his role as a senior advisor. Mr. Mullin

previously served as a director of Bell South Corporation. His experience from having served as

Chairman and CEO of one of the nation's largest airlines and his long and distinguished career in

the banking industry make him a skilled advisor on operational and financial matters.

        Paul J. Salem serves as a director of the Board and is the acting chairman of the

Nominating and Corporate Governance Committee of the Company. He is a Senior Managing

Director and a co-founder of Providence Equity Partners. Prior to joining Providence Equity

Partners in 1992, Mr. Salem worked for Morgan Stanley & Co. in corporate finance and mergers

and acquisitions. He also spent four years with Prudential Investment Corporation, an affiliate of

Prudential Insurance, where his responsibilities included leveraged buyout transactions and

helping to establish Prudential's European investment office. Mr. Salem is also a director of

N.E.W. Asurion Corp., a provider of technology protection services, and NexTag, Inc., a

provider of online comparison shopping, and he previously served as a director ofPanAmSat

Holding Corporation. Mr. Salem, who is a director designee of Providence Equity Partners,

provides the Board with a broad-based background in analyzing business operations, models,

strategic plans and financial statements.

                2.      Disinterestedness Of The Litigation Committee

        The ALI Principles define "disinterested" in terms of what it means to be "interested."

Section 1.23(a) of the ALI Principles provides that a director is interested if any of the following

four tests are met:

        (1)     The director or officer, or an associate ... ofthe director or officer,
                is a party to the transaction or conduct;



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        (2)     The director or officer has a business, financial, or familial
                relationship with a party to the transaction or conduct, and that
                relationship would reasonably be expected to affect the director's
                or officer's judgment with respect to the transaction or conduct in a
                manner adverse to the corporation;

        (3)     The director or officer, an associate of the director or officer, or a
                person with whom the director or officer has a business, financial,
                or familial relationship, has a material pecuniary interest in the
                transaction or conduct (other than usual and customary directors'
                fees and benefits) and that interest and (if present) that relationship
                would reasonably be expected to affect the director's or officer's
                judgment in a manner adverse to the corporation; or

        (4)     The director or officer is subject to a controlling influence by a
                party to the transaction or conduct or a person who has a material
                pecuniary interest in the transaction or conduct, and that
                controlling influence could reasonably be expected to affect the
                director's or officer's judgment with respect to the transaction or
                conduct in a manner adverse to the corporation. 3

        The Litigation Committee requested that counsel analyze the basis, if any, on which

OLERS may claim that members of the Committee are not "disinterested." The Demand Letters

do not assert, and the investigation by counsel for the Litigation Committee did not find, a basis

to conclude that Messrs. Mullin or Salem were involved in, associated with, have a pecuniary

interest in, have a business or financial relationship with, or are a party to any transaction or

conduct alleged in the Demand Letters.

        Counsel also did not find that Messrs. Mullin or Salem are "interested" in the transactions

or conduct alleged in the Demand Letters. Counsel considered a number of facts and

circumstances bearing on the disinterestedness analysis, including:

        First, Messrs. Mullin and Salem are affiliated with certain institutional investors

(Goldman Sachs and Providence Equity Partners), which have substantial stock and debt

interests in EDMC. That fact, however, does not make these individual directors "interested" in


    ALI Principles§ 1.23(a); see also§ 1.23(c).



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the transaction or conduct at issue in the Demand Letters. 4 Numerous cases have held that

having a financial stake in a company is not a financial interest making a director "interested. " 5

In order for a director to be "interested":

                 [T]he financial interest at issue must be directly related to the
                 transaction at issue ... [S]imply because a director has some
                 financial relationship with the primary corporation, that director
                 should not be deemed "interested" if he or she does not otherwise
                 have a financial interest in the transaction at issue. Moreover, this
                 interest must be somehow different from the director's interest as a
                 stockholder. 6

"There are many cases in which greater credence has been given to the judgment of directors

because their equity interests aligned them with the interests of the other stockholders." 7

Accordingly, one Delaware court has stated: "Only in the mind of the most aggressive legal

advocate could the claim be made, with a straight face and absent any serious factual support,

that a board of directors, consisting, in part, of three of the largest individual shareholders in the

corporation and the largest single institutional investor, would completely ignore the best

economic interests of the shareholders in order to avoid ... duties found in ... common law." 8

        There is no evidence that the interests of Messrs. Mullin or Salem (or Goldman Sachs and

Providence Equity Partners) are not aligned with the interests of the common stockholders of


4
    See, generally, 15 C.S. Pa. 1715(e)(2)(i) ("A person shall not be deemed to be other than a disinterested director
    solely by reason of [the] ownership by the director of shares of the corporation.")
    See, e.g., In re !XC Commc'ns, Inc. v. Cincinnati Bell, Inc., Nos. C.A. 17324, C.A. 17334, 1999 WL I 009174,
    at *6 (Del. Ch. Oct. 27, 1999) ("Plaintiff has not demonstrated how the rational economic self-interest ofthese
    large [director] shareholders differs from all !XC shareholders, nor that they would receive anything more for
    their shares than even the numerically smallest !XC shareholder.").
    Similarly, Pennsylvania law makes clear that in situations where there are challenges to corporate control, "[a]
    person shall not be deemed to be other than a disinterested director solely by reason of [the] ownership by the
    director of shares of the corporation." See 15 C.S. Pa. 1715(e)(2)(i).
6
    Eric G. Orlinsky, Corporate Opportunity Doctrine and Interested Director Transactions: A Framework for
    Analysis in an Attempt to Restore Predictability, 24 DEL. J. CORP. L. 451, 511-12 (I 999).
    In re Oracle Corp., 867 A.2d 904, 930 (Del.Ch. 2004).
    Cincinnati Bell, Inc., 1999 WL 1009174, at *7.



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EDMC with respect to investigating and remediating the conduct alleged in the Demand Letters.

Nothing in the Demand Letters demonstrates how "the rational economic self-interest of these

large shareholders differs from all [EDMC] shareholders .... " 9 Neither Mr. Mullin nor Mr.

Salem stands to receive any personal financial benefit or detriment from any conduct alleged in
                                                                                    10
the Demand Letters that is not equally shared by other stockholders.                     The same applies to

Goldman Sachs and Providence Equity Partners.

            In particular, as directors ofEDMC, Messrs. Mullin and Salem have a responsibility to

ensure that the Company has an appropriate system of internal controls to minimize the risk of

improper or unlawful conduct occurring. This interest is shared equally by Goldman Sachs and

Providence Equity Partners, as institutional investors ofEDMC. There is abundant evidence in

the record concerning the adequacy and vigor ofEDMC's internal control structure. 11 This

evidence speaks to the good faith and due care exercised by all ofEDMC's directors in

discharging their duties, including Messrs. Mullin and Salem.

            This conclusion applies with equal force to each of the allegations in the Demand Letters,

which focus on the due care exercised by EDMC's board of directors in overseeing the

Company's activities. For example, one ofthe principal allegations made in the Demand Letters

is that the incentive compensation plan in place at EDMC was a "sham" and that the individual

directors or officers of EDMC failed to take appropriate actions to remedy this situation. The

incentive compensation plan at issue was adopted by EDMC in 2003 and remained largely the

9
     !d.
10
     See, e.g., Pogostin v. Rice, 480 A.2d 619,624 (Del. 1984), rev'd on other grounds, Brehm v. Eisner, 746 A.2d
     244 (Del. 2000)) (a director is "interested" if he "has received, or is entitled to receive, a personal financial
     benefit rrom the challenged transaction which is not equally shared by the stockholders"); Cincinnati Bell, Inc.,
     I 999 WL I 009174, at *6-7 (finding that directors with large stock holdings would likely have interests aligned
     with shareholders); see also Marx. v. Akers, 666 N.E.2d 1034, 1042 (N.Y. 1996) ("Directors are self-interested
     in a challenged transaction where they will receive a direct financial benefit rrom the transaction which is
     different rrom the benefit to shareholders generally") (citing Delaware law and ALI Principles§ 1.23).
II
     See discussion at Section V(A), at pp. 17-42, of this Report.



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same until it was phased out in 2011. Messrs. Mullin and Salem did not become directors of

EDMC until 2006. 12 Neither individual played any role in the design or implementation of that

plan. 13 Further, the investigation revealed that EDMC regularly obtained advice from outside

counsel, with expertise in the design and implementation of similar types of compensation plans,

to the effect that EDMC's compensation plan complied in all respects with requirements of

Title IV of the Higher Education Act of 1965.

            The investigation also did not identify any involvement by Messrs. Mullin or Salem in
                                                                    14
the ongoing administration of the compensation plan.                     Rather, the administration ofthe

compensation plan was the responsibility of management-level employees of EDMC, located at

the Company's various campuses or at its on-line division. Further, the investigation did not

uncover any instances in which the Demand Letters' concerns relating to the administration of

the compensation plan were elevated to EDMC's board of directors or were otherwise known to

Messrs. Mullin or Salem. Moreover, the investigation identified a series of internal controls that

were designed to ensure that the particular components ofEDMC's compensation plan

(including the qualitative factors of the plan) were applied in practice. The investigation

confirmed that these internal controls were effective. 15

            Second, the investigation confirmed that certain affiliates of Providence Equity Partners

do business with EDMC. As described in the Company's public filings, for example, EDMC did

12
     See ALI Principles§ 1.23, cmt. ; accord Harhen v. Brown, 730 N.E.2d 859, 864 (Mass. 2000) (holding, under
     ALI Principles § 1.23, that two directors appointed to special committee were not "interested" where one
     committee member was not on the board at the time of the crimes perpetrated by employee and the other
     committee member, while on the board during the relevant time, was not alleged to have played any role in the
     crimes).
13
     See ALI Principles§ 1.23(c) (stating that a director is not interested, for purposes of a derivative action, if the
     director, among other things, merely "approved of or acquiesced in the transaction or conduct that is the subject
     ofthe action").
14
     See discussion at Section V(B), at pp. 42-61, ofthis Report.
15   ld.



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approximately $3.8 million in business with four Providence Equity Partners affiliates in 2011.

A director's association with entities that conduct business with EDMC does not render a

director interested. 16 For example, in Kaplan v. Wyatt, the Delaware Supreme Court held that a

director appointed to a special litigation committee was not interested despite the fact that

director also owned businesses that transacted over $200 million in business with the company. 17

Along similar lines, a recent Pennsylvania case rejected a claim that a business relationship with

the company made a special committee member "interested." Specifically, the court held that

"[a]s a long-time customer of [the company], as well as a director of it, [the committee member]

is presumed to wish [the company] well, rather than ill" and "[h]is judgment cannot be assumed

to have been clouded by the possibility that [he] may do business with [the company] in the

future." 18 Here, there is no evidence that the business relationship between EDMC and affiliates

of Providence Equity Partners affected in any way Mr. Salem's actions as a member ofthe board

of directors of EDMC, or as a participant in the Litigation Committee.

         Third, the fact that Messrs. Mullin and Salem were named as individual defendants in the

Gaer Litigation, in their capacity as members ofthe Board of Directors ofEDMC, does not

change this conclusion. The claims against EDMC, and each of the individual defendants in the

Gaer case, were dismissed with prejudice. Moreover, it is well settled that the fact that a director

"is named as a defendant [in a lawsuit involving the Company] does not make the director

16
     See, e.g., Wyilie ex rei. W Holding Co., Inc. v. Stipes, 797 F.Supp.2d 193, 199 (D. Puerto Rico 2011) (finding,
     under Delaware law, member of corporation's special litigation committee (SLC) did not have such significant
     commercial ties to corporation's officers and directors to render him impartial in his duties, as would cast doubt
     on SLC's ability to independently assess shareholder's claims against officers and directors, despite that 16
     percent of SLC member's accounting firm revenue came from corporation's officers and directors); In re J.P.
     Morgan Chase & Co. Shareholder Litig., 906 A.2d 808, 821-22 (Del. Ch. 2005) (in analyzing the independence
     of certain directors, court observed that three directors had substantial personal wealth invested in their related
     companies, each of which conducts business with J.P. Morgan, but held that aiieging that bank provided
     financing to these companies standing alone is insufficient to put their disinterestedness into question).
17
     499 A.2d I 184, 1189 (Del. 1985).
18
     Fundamental Partners v. Gaudet, No. 003519, slip op. at 4-5 (Phila. Ct. Com. Pl., Nov. 23, 2011)



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interested under [the ALI Principles] if the complaint against the director: (A) is based only on

the fact that the director approved of or acquiesced in the transaction or conduct that is the

subject of the action, and (B) does not otherwise allege with particularity facts that, if true, raise

a significant prospect that the director would be adjudged liable to the corporation or its

shareholders." 19 The Gaer Litigation did not raise the prospect ofliability, much less "a

significant prospect that the director would be adjudged liable to the corporation or its
                  20
shareholders. "

                   3.      Retention Of Counsel

            The Litigation Committee retained outside legal counsel at Goodwin Procter to assist in

responding to the Demand Letters. The Litigation Committee considered Goodwin Procter LLP,

among other major law firms, to assist it with its investigation. The Litigation Committee

considered the extensive experience of Goodwin Procter as a firm in conducting investigations

on behalf of directors and special committees into a wide range of topics. The Litigation

Committee determined that Goodwin Procter was qualified to assist the Litigation Committee in

an unbiased manner.

            B.     ACTIONS TAKEN BY THE LITIGATION COMMITTEE

            The Litigation Committee conducted a thorough and careful review of the issues

identified in the Demand Letters. During this process, members of the Litigation Committee

were advised by independent legal counsel at Goodwin Procter LLP, who conducted in excess of

30 witness interviews and reviewed numerous documents pertaining to the allegations raised by

the Demand Letters. The Litigation Committee and its counsel met periodically to discuss and

analyze the information collected through the investigative process. The Litigation Committee

19
     Lemenestrel v. Warden, 964 A.2d 902, 919 (Pa. Super. 2008) (quoting ALI Principles§ 1.23(c)).
20   !d.



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also provided guidance and input to counsel on the matters under review, including the

conclusions reached in this Report. During the investigation, the Litigation Committee requested

on several occasions that OLERS and its counsel provide additional factual support for their

allegations. However, no additional facts were ever provided, beyond the letters themselves.

IV.       GOVERNING LEGAL PRINCIPLES

          A.         PENNSYLVANIA LAW RELATING TO FIDUCIARY DUTIES

          Each director and officer of a Pennsylvania corporation, such as EDMC, stands in a

fiduciary relationship to his or her corporation and owes duties of care and loyalty to the
                 1
company?

                     1.       Duty Of Care

          The duty of care requires that directors and officers must act "in good faith, in a manner

he reasonably believes to be in the best interests of the corporation and with such care, including

reasonable inquiry, skill and diligence, as a person of ordinary prudence would use under similar
                      22
circumstances."            This duty primarily relates to the responsibilities of being properly informed

when making decisions and overseeing the management ofthe corporation. 23

          In performing these duties, a director is allowed "to rely in good faith on information,

opinions, reports or statements, including financial statements other financial data, in each case

prepared or presented by any of the following":

          ( 1)       One or more officers or employees of the corporation whom the
                     director reasonably believes to be reliable and competent in the
                     matters presented.



21
      See Anchel v. Shea, 762 A.2d 346, 357 (Pa. Super. 2000) ("Our law prescribes that a fiduciary obligation
      includes both a duty of care and a duty of loyalty.") (citation omitted).
22
      See also 15 Pa. C.S. §§ 512(a) & 1712(a); Anchel, 762 A.2d at 357.
23
      See The Committee on Corporate Laws of the American Bar Association's Section of Business Law, Corporate
      Director's Guidebook 18 (5th ed. 2007).



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         (2)      Counsel, public accountants or other persons as to matters which
                  the director reasonably believes to be within the professional or
                  expert competence of such person.

         (3)      A committee ofthe board upon which he does not serve, duly
                  designated in accordance with law, as to matters within its
                  designated authority, which the committee the director reasonably
                  believes to merit confidence?4

A director is not considered to be acting in good faith, however, if he or she "has knowledge

concerning the matter in question that would cause his reliance to be unwarranted." 25

         When due care is taken, Pennsylvania law provides substantial barriers to challenges of

decisions made by officers and directors. Specifically, Pennsylvania has codified the business

judgment rule: "absent a breach of fiduciary duty, lack of good faith or self-dealing, any act as

the Board of Directors, a committee of the board or an individual director shall be presumed to

be in the best interests of the corporation."26 The Pennsylvania Supreme Court has explained

that "the business judgment rule reflects a policy of judicial noninterference with business

decisions of corporate managers, presuming that they pursue the best interests of their

corporations, insulating such managers from second-guessing or liability for their business

decisions in the absence of fraud or self-dealing or other misconduct or malfeasance." 27

                  2.          Duty Of Loyalty

         The duty of loyalty requires that directors and officers act only in the interests of the

corporation, devoting themselves to corporate affairs with a view to promoting the common

interests rather than their own. 28 The Pennsylvania Supreme Court has held that central to this

duty is the principle that "the fiduciary best fulfills its duties if it approaches them with the
24
     15 Pa. C.S. § 1712(a).
25
     !d.§ 1712(b).
26
     !d. § 1715(d).
27
     Cuker, 692 A.2d at 1046.
28
     See Anchel, 762 A.2d at 357 (citation omitted).



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attitude seeking the beneficiary's interests rather than the personal interests of the fiduciary ...
     29
."        The duty of loyalty has developed to require that self-interested transactions entered into by

directors or officers be subjected to a fairness analysis, including whether conflicts of interest are

disclosed to the board or shareholders as well as whether the transactions are fair to the
               .   30
corporatiOn.

              B.        PENNSYLVANIA LAW RELATING TO SPECIAL COMMITTEES

              The Pennsylvania Supreme Com1 has adopted the ALI Principles with respect to

derivative actions and, in doing so, has made the ALI Principles an authoritative statement on

Pennsylvania law. 31 The ALI Principles state that a board of directors must be given a

reasonable opportunity to respond to a demand? 2 Under the ALI Principles, one method for

responding to demand letters is for the board of directors to create an independent litigation

committee to conduct an in-depth review of the allegations in the demand. 33

              When evaluating the appropriateness of a litigation committee, Pennsylvania com1s

consider whether the committee: (a) is composed of two or more disinterested directors who are,

as a group, capable of objective judgment under the circumstances; (b) is assisted by counsel of

its choice; (c) conducts an adequate investigation; (d) prepares a written report; and (e) details

why it rationally believed its decision was in the best interests ofthe corporation. 34 Decisions of



29
          Warehime v. Warehime, 761 A.2d 1138, 1143 (Pa. 2000).
30
          See ALI Principles§ 5.02 Reporter's Note.
3I
          See Cuker, 692 A.2d at 1049 (specifically adopting§§ 7.02-7.10 and§ 7.13 ofthe ALI Principles). While not
          specifically adopting all ALI Principles, the Pennsylvania Supreme Court noted that its "adoption of [a certain]
          section is not a rejection of other sections not cited." Cuker, 692 A.2d at 1042, 1049 n.5. Accordingly,
          Pennsylvania courts routinely look to the ALI Principles for guidance on corporate governance issues. See, e.g.,
          Lemenestrel v. Warden, 964 A.2d 902, 904 (Pa. Super. 2008).
32
          ALI Principles§ 7.03 cmt. f.
33
          !d.§§ 7.05(b)(l), 7.08.
34
          See Cuker, 692 A.2d at 1048; see also Lemenestrel, 964 A.2d at 912 (quoting Cuker, 692 A.2d at 1048).



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a litigation committee, fmmed in accordance with these standards, are protected by the business

judgment rule. 35

           Under the business judgment rule, courts shall not examine the merits of the litigation

committee's decision. 36 "Without considering the merits of the action, a comi should determine

the validity of the board's decision to terminate the litigation; ifthat decision was made in

accordance with the appropriate standards, then the court should dismiss the derivative action

prior to litigation on the merits." 37

V.         SUMMARY OF THE LITIGATION COMMITTEE'S FINDINGS

           A.     FINDINGS REGARDING INTERNAL CONTROLS

                  1.       Company-Wide Standards

           EDMC sets and maintains high ethical standards of conduct for all of its approximately

19,000 employees by way oftwo Company-wide policies: the Business Ethics Policy and Code

of Conduct ("Code of Conduct" or "Code") and the "Help Us Preserve Our Integrity" Brochure

("Integrity Brochure").

                           a.      The Code Of Conduct

           The Code of Conduct, 38 which applies to directors and employees at all levels, guides the

business practices of the Company in regards to compliance with laws and maintenance of the

highest moral, legal, ethical and financial reporting standards. An updated version of the Code

(which was in the works since well before the GAO Reports and the Demand Letters) was

implemented in the second quarter of fiscal year 2011 ("Revised Code"). The prior Code of

35
     See Cuker, 692 A.2d at I 046-48.
36
     See id. at 1047-48.
37   !d.
38
     As discussed herein, the Company revised its Code of Conduct in 2011. The formal title of the prior Code of
     Conduct is the "Code of Business Ethics and Conduct." The revised Code of Conduct is titled the "Business
     Ethics Policy and Code of Conduct." Both are refened to generally as the "Code" or the "Code of Conduct."



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Conduct ("Prior Code") covered various compliance-related topics such as employee

responsibilities regarding conduct, methods for reporting violations, conflicts of interest,

compliance with laws and regulations, fair dealing, treatment of students, sexual harassment, and

diversity. The Revised Code provides detailed instructions on reporting potential compliance

violations and reflects recent legislative changes affecting EDMC and the for-profit college

industry as a whole.

       The Code generally sets forth EDMC's values, including that the Company is committed

to having its employees conduct themselves in an ethical manner. More specifically, the Code

makes clear that EDMC will comply with all laws and regulations applicable to its business and

requires employees to be familiar with the laws applicable to their specific job function and

level. The Code emphasizes that employees are never expected to violate any law and should

never feel pressured to do so.

        The Revised Code provides specific examples of ethical conduct for particular job

functions. For instance, the Revised Code details policies that admissions employees must

comply with when interacting with potential and current students. The policies include accurate

and transparent dissemination of information related to accreditation, graduation requirements,

cost of attendance, transfer of credits, faculty qualifications, graduation and default rates,

employment rates, potential salary upon graduation, and eligibility for licensing exams. In

another section, the Revised Code states that financial aid professionals shall seek to minimize

economic disadvantages as a barrier to higher education; advise the student of his or her right to

reject aid; provide timely, complete, and accurate financial aid information to students to

enhance student financial literacy and empower all participants to act and borrow responsibly;

not knowingly permit or encourage an applicant to falsify or provide misleading infmmation




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when applying for aid; recommend that students exhaust federal and state provided methods of

financing their education before applying for private loans in those situations where private loans

are needed to supplement the cost of education; and give all prospective students the opportunity

to meet with an EDMC financial aid professional.

       The Code stresses the potential consequences of noncompliance for an offending

employee (e.g., termination or criminal or civil prosecution), for EDMC (e.g., fines, loss of

business, reputational damage), and for EDMC's students (e.g., reduced access to higher

education and higher costs).

       Mechanisms for reporting unethical conduct are also outlined in the Code. These

mechanisms include speaking with local and corporate Human Resources personnel, contacting

the Company's General Counsel, or contacting EDMC's Corporate Compliance Hotline. The

Code of Conduct also fosters an environment in which reporting of unethical conduct is

encouraged by making evident that EDMC is committed to keeping complaints confidential and

stressing that the Company will not tolerate any form of retaliation. Indeed, retaliation is a

violation of the Code.

       All employees receive training on the topics covered by the Code through the Company's

"on-boarding" process for new employees. Under the Prior Code, on-boarding required

employees to complete courses covering employee rights and responsibilities as well as legal

considerations in the workplace, all of which incorporated the Code. Under the Revised Code,

new employees also complete an additional training module specifically on the Code. This

module requires employees to identify ethical dilemmas through real-life scenarios, outline steps

for de-escalation, and develop strategies for mitigation. Some scenarios, for example, focus on

unethical recruiting practices.




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       Under the Prior Code, employees were required to sign a Code of Business Ethics and

Conduct Acknowledgment, thereby certifying that they received the Code, read it, and

understood it. A similar certification process has been implemented for the Revised Code.

Initially, certification requires new and current employees to complete the training module on the

Code and certify that they have completed the module, have reviewed the Revised Code, and

clearly understand it. In addition, employees are required to certify that they are aware of no

ethical violations in their particular workplace. The recertification requires employees to review

the Code, complete a refresher course on the Code, report any suspected Code violations, and

sign an "e-authorization" acknowledging that the employee read and understood the Code and

that the employee completed the course.

                       b.      The Integrity Brochure

       In addition to the Code, the Company also provides employees with the "Integrity

Brochure, which has been distributed to all new employees since 2004 and explains the negative

impact that unethical behavior can have on the Company's reputation and financial well-being.

The Integrity Brochure also provides a non-exhaustive list of examples of unethical behavior,

including failing to comply with state and federal laws and regulations, accrediting and licensing

agencies, and professional organizations; falsifying statements to government officials or in

reports; and unfairly treating students.

       The brochure outlines a suggested structure for reporting unethical behavior, including

speaking with a supervisor, local and corporate Human Resources, or the Campus President, or

by contacting the Company's General Counsel, the Internal Audit Department, or the Corporate

Compliance Hotline. The brochure emphasizes in large type that an employee will not face

retaliation for making a report and provides three ways for an employee to report unethical

conduct through the Corporate Compliance Hotline.


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                 2.       The Hotline Committee

         In January 2003, in compliance with SOX standards, EDMC launched its Corporate

Compliance Hotline (the "Hotline"). 39 While originally intended to detect financial

irregularities, EDMC broadened the purpose of the Hotline to include detection of other

unethical activities, thereby aligning the Hotline with EDMC's philosophy of integrity.

Employees may submit tips or complaints to the Hotline 24 hours per day, seven days per week,

by e-mail, a secure web-form, or voicemail in a manner that electronically disguises the identity

of the employee to EDMC personnel. Employees will not face retaliation for making a report.

         The Hotline Committee is charged with oversight and administration of the Hotline. The

Hotline is more than a functioning and adequate internal control, as the Demand Letters ask the

Company to put in place. The Litigation Committee's review found that most of the more than

300 Hotline submissions between fiscal years 2009 and 2010, for example, related to human

resources and managerial issues, such as an allegation that a manager was "rude" to an

employee. Only a handful of submissions, broadly construed, related to the types of potential

ethical violations raised in the GAO Report and mentioned in the Demand Letters. Investigation

by the Hotline Committee oftentimes could not substantiate allegations. When allegations were

substantiated, appropriate corrective action was taken. Thus, the Hotline is (and has been) a

robust, thorough and effective mechanism for detecting and remediating the types of alleged

misconduct referenced in the Demand Letters and described in the GAO Report. It further

demonstrates, contrary to the Demand Letters, that EDMC directors and officers have acted in

good faith by overseeing the Company's operations and business practices.



39
     See 18 U.S.C. § 78j-l (m)( 4)(SOX requires audit committees of publicly traded companies to establish
     procedures whereby employees can anonymously submit concerns regarding questionable accounting or
     auditing matters).



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               3.      Internal Audit Department

       EDMC's Internal Audit Depmiment ("lAD") conducts internal audits of corporate

processes, information technology, ground schools, and the Online Higher Education Division.

As discussed in further detail below, lAD, through its far-reaching audit process, provides

stakeholders in EDMC, including directors and officers, a thorough and objective assessment of

the Company's system of controls; verifies compliance with policies and procedures and

regulatory requirements; deters fraud by encouraging appropriate controls; identifies best

practices; and facilitates the transfer of knowledge. Thus, contrary to the allegations in the

Demand Letters, lAD has been functioning as an internal control for regulatory compliance (not

to mention financial accuracy) and has been assisting directors and officers in overseeing the

Company's operations and business practices.

       To do so, lAD continuously assesses business risk and develops audit objectives,

priorities, and procedures that evaluate and ensure effective internal controls. While EDMC

management is responsible for providing internal controls, lAD evaluates the adequacy and

effectiveness of those internal controls and recommends improvements. When performing these

audits, lAD complies with the Standards for the Professional Practice of Internal Auditing of The

Institute oflnternal Auditors.

       lAD's audit process is based upon periodic assessments of operating locations or

processes within the Company. A risk-based approach is used by IAD to determine frequency,

location, and depth of audits of a given location or process. Each fiscal year, lAD develops an

audit plan based on a risk analysis that includes a variety of factors, such as location size,

location control, prior audit results, employee turnover, compliance requirements, and revenue.

       All business activities of EDMC are subject to auditing. IAD aims to audit each school

once every five years and every corporate process once every three years. Each school or


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corporate process may be audited more frequently, however, based on audit results and other risk

factors. In reviewing a particular location or process, lAD conducts field testing of various

areas, grading each on a scale of 1 (deficient) to 5 (excellent). lAD then provides an overall

score to a particular location (e.g., The Art Institute in Pittsburgh) or process (e.g., Information

Technology), along with specific recommendations for improvement.

       Following field testing, lAD issues a draft report to the personnel in charge of the

location or process audited and requests responses and action plans for each audit finding.

Thereafter, lAD issues a final report, which can include a "Major Report," detailing findings

requiring remediation, and a "Minor Report," discussing recommendations that do not require

formal remediation. A Major Report typically includes background about the site or process, a

summary of the findings, a chart of grades for each auditable area, a rubric for each grade,

current financial data related to the site, and recommendations for improvement. lAD also

generates an executive summary of the report. Reports are distributed to the Audit Committee,

senior management, and in some instances the Company's external auditor. At fiscal year end,

lAD prepares a report summarizing all site and process audits during the year for the Audit

Committee. This report also indicates the audit plan for the following fiscal year.

        The Litigation Committee reviewed lAD's reports from school audits and found a

thorough, effective control. lAD audits approximately 20 percent ofEDMC's ground schools

each fiscal year. For each ground school, lAD sends two to three auditors to "field test" each

campus. Those auditors assess an array of areas, including admissions, accounting,

administration, balance sheet analysis, education, human resources, information technology, and

student services. For example, for admissions, lAD documents and tests the process for

admissions personnel training and ce1iification to assure compliance with guidelines; and




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document and tests pay rate change policy to assure that admissions personnel are properly

compensated. As another example, for Student Services, lAD determines if graduates' salaries

are properly documented and verified in the student accounting system; and assures that the New

Student Handbook has required sections as per the EDMC Systems Standard. The auditors

conduct these tests through a combination of pre-audit questionnaires; random sampling and

testing of files and data to verify compliance and reporting accuracy; and interviews of key

personnel in particular departments to identify problem areas and ensure compliance with

policies and processes.

               4.     Online Higher Education Division

       Online Higher Education ("OHE") is the division at EDMC responsible for the

Company's online education programs, including Argosy University Online, South University

Online, and The Art Institute of Pittsburgh Online (the "Online Brands"). Two departments

within OHE, the Internal Audit and Compliance Department as well as the Marketing and

Admissions Department, contain control functions relevant to the Demand Letters. As the

Litigation Committee's review made evident, these two departments already employ an

interwoven system of controls that deter the types of unethical conduct alleged in the GAO

Report. Moreover, these controls allow directors, officers, and management to oversee OHE's

operations and business practices.

                       a.     OHE's Internal Audit And Compliance Department

       OHE Internal Audit and Compliance conducts audits and monitors OHE employee

interaction with students and prospective students, including Assistant or Associate Directors of

Admissions (collectively, "ADAs") and Student Financial Services ("SFS") representatives

working for the Company's Online Brands. Specifically, this department conducts call




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monitoring, auditing and reporting functions that are adequate to address the type of wrongdoing

alleged in the Demand Letters.

                                    1.       Call Monitoring

         OHE Internal Audit and Compliance has conducted a call monitoring program at the

Company since June 2007. The Company devotes significant resources to monitoring phone

calls between students and prospective students and OHE employees, including representatives

from admissions, financial aid, academic counseling, and collections. By doing so, the OHE

Internal Audit and Compliance department strives to monitor 90 percent of ADAs and SFS

representatives every three weeks. As a result of this extensive program, the Company estimates

that representatives may be monitored as many as 40 to 50 times over the course of two years.

While ADAs and SFS representatives know they can be monitored on any given call, they are

not informed when the monitoring occurs. For a call to qualify as "monitored," it must last more

than five minutes. Therefore, AD As and SFS representative may be listened to more frequently

than the monitoring statistics indicate.

         Each incomplete or incorrect response provided by a representative on a monitored call is

labeled as a "gap" and is given a grade ranging from Level 1 (being the least problematic) to

Level 4 (being the most severe). 40 All representatives are provided with policies that explain

how their interactions are graded, and each is required to acknowledge in writing that she has

read the policy. The severity of the gap, coupled with the number of previous infractions by the

representative, determines the remediation process employed by the Company upon discovering

a gap. Any compliance infraction requires that the offending ADA and her supervisor sign-off

on a remediation form. Level 3 gaps also require sign-off by the Vice President of the

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     The types of conduct that eam a certain grade level are substantially the same as those found in Corporate
     Services Marketing and Admissions, as discussed below.



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employee's department. Level4 gaps, moreover, are reported to Human Rand the Vice

President of OHE.

         The Litigation Committee's review of historical call monitoring data demonstrated that

the compliance program and remediation policy have proven successful in detecting and

remedying gaps. As an example, between November 2008 and November 2010, OHE monitored

nearly 40,000 calls involving over 3,300 ADAs and nearly 2,700 calls involving over 200 SFS

representatives. A small fraction of these calls involved any gaps. For ADAs, for instance, less

than two percent of calls involved gaps, with less than 0.5 percent involving Level 3 or Level 4

gaps.

                               n.     Auditing

         OHE Internal Audit and Compliance audits areas of risk within ORE-including

financial aid, student accounting, the registrar, academic counseling and SOX testing-by

examining the same areas that lAD audits for ground schools. Before each fiscal year, this

department performs a risk assessment of auditable areas within OHE, and based on that

assessment, develops an audit plan for the upcoming fiscal year. Areas with particularly high

risk areas, such as financial aid, are audited annually. Audit findings are summarized in reports;

each rep01i contains findings and provides a recommendation for improvement, a target date for

that improvement, and a responsible party.

                               111.   Reporting

         OHE Internal Audit and Compliance presents the results of internal audits and

compliance monitoring to the OHE Executive Committee on a quarterly basis. These

presentations, which usually last sixty to ninety minutes, summarize the methodologies, findings,

and corrective actions taken with respect to each audit. These presentations also describe the

areas tested, the time period covered, all major findings, and any corrective actions


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recommended. Presentations further contain the proposed audit schedule for the upcoming fiscal

year and details on compliance and gaps in the Admissions and Student Financial Services

departments, including trends of gaps found during mystery shopping and observations for each

school. Compliance gaps are also reported weekly to ORE's Executive Committee.

        Senior management in lAD and OHE also meet on a quarterly basis. During these

meetings, both departments exchange the findings of their respective audits and risk assessment

efforts. These quarterly meetings help identify potential areas of common risk. By way of

example, lAD was able to identify a faculty credentialing risk in ground schools that OHE had

originally identified during its audits.

                        b.      OHE's Marketing And Admissions

        OHE's Marketing and Admissions Department supervises the marketing and admissions

functions for the three EDMC Online Brands by, among other things, developing policies and

procedures related to admissions personnel, training admissions personnel, and ensuring

compliance with federal regulations and Company policy regarding interactions with prospective

students.

        Similar to their counterparts at the ground schools, ADAs in OHE attempt to recruit

qualified students to the three Online Brands. In doing this, ADAs must determine the

appropriateness of candidates for admissions based upon career goal compatibility; accurately

and completely portray programs, services, and expected outcomes; conduct all activities in

accordance with the highest ethical standards; and conduct all activities in accordance with state

and federal rules and regulations.

        All OHE ADAs receive extensive training before being allowed to interact with

prospective students. This training includes a two-week program for new hires, which covers the

history of EDMC, the Code of Conduct, director expectations, quality conversations with


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prospective students, school curricula, financial aid, and compliance. New ADAs also sign an

Ethics Acknowledgment stating that they are responsible for providing prospective students with

legally and factually correct information about the qualities, attributes, and benefits of attending

the school and that they may be monitored for compliance with those standards.

       ORE's Marketing and Admissions also provides all ADAs with a Compliance FAQ

Guide ("Compliance Guide"), which ensures that each ADA has legally and factually correct

information while interacting with prospective students. While Compliance Guides are tailored

to specific schools (e.g., Argosy University Online), the Compliance Guides for each school are

largely similar to each other and to the Guidebooks distributed to ADAs at ground schools by

Corporate Services Marketing and Admission. Topics covered by ORE's Compliance Guide

include accreditation, transfer of credits, student services, career services, international students,

education, faculty, and financial aid. Similar to ADAs at ground schools, ADAs in ORE must

pass a "Frequently Asked Questions" exam (the "F AQ exam") based on the information in the

Compliance Guide by successfully answering eighty-five percent of the questions. ADAs are

given two opportunities to retake the FAQ exam and cannot speak with prospective students until

passing the exam. The FAQ exam is administered annually to all AD As.

        Beyond the Compliance Guides, ADAs also complete a training module on compliance

during their two-week training. The module is designed to instruct AD As on how to identify

questionable recruiting practices and the associated negative effects; understand what to do and

what not to do in key compliance areas; and identify resources as a means to report possible

violations. ADAs also view a "60 Minutes" segment on deceptive recruiting practices and then

engage in a discussion regarding the importance of compliance. The discussion is intended to

highlight the negative effects of noncompliance, including damage to EDMC's reputation and




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loss of business, and emphasize that the industry is heavily regulated. AD As are instructed on

what information can and cannot be communicated to students in such areas as accreditation,

transfer of credits, technology requirements, career services, financial aid, tuition, student

responsibilities, and competition. The module concludes by providing strategies for reporting

potential compliance violations and provides three means for contacting the EDMC Corporate

Compliance Hotline.

        During new hire training, AD As also receive instruction on how to effectively conduct

phone calls with prospective students and sales and marketing techniques. Some training

materials teach ADAs techniques for uncovering a prospective student's goals, motivations,

desires, and educational shortfalls. Other materials provide AD As with a roadmap to use when

navigating through a conversation with a potential student. Still others train ADAs on engaging

prospective students and encouraging them to pursue a degree that suits their confirmed need or

goal. In order to demonstrate their understanding of these concepts, ADAs must complete a final

exam and a final role-play.

        After completing the two-week new hire training-including passing the final exam, the

FAQ exam, and the final role play-AD As transition into a "training pod," which lasts from two

to eight weeks depending on the progress of the individual ADA. The training pod provides

intensive on-the-job training involving monitored conversations, coaching, and daily assessments

and reviews against performance criteria. Only after satisfactorily completing the training pod

can an ADA interact on an unsupervised basis with a prospective student.

        OHE also requires continuing education for all ADAs after the initial new hire training

and the training pod. The amount and type of training depends upon the length of employment.

ADAs who have been employed less than three months are required to attend two trainings per




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month and one additional training the month oftheir first start. ADAs who have been employed

between three and six months are required to attend one training per month and complete a

"Back to Basics Boot Camp." ADAs who have been employed more than six months are

required to take one training class per quarter. Additional training for ADAs may also be

conducted if a compliance "gap" occurs in order to "fill" the gap.

       Following training, ADAs are continually monitored to ensure they comply with EDMC

policies, as well as the law. AD As must submit to monitoring by a combination of internal call

monitoring administered by OHE's Internal Audit and Compliance, as described above, and the

mystery shopping program administered by Corporate Services Marketing and Admissions,

described further below. ADAs are provided Compliance Grade Levels, which are used to rate

and track compliance "gaps." Any gaps are rated on the Compliance Grade Levels and recorded

on a corrective action record. Gaps are remediated according to the grading policy, which ADAs

are required to acknowledge. Possible remediation includes counseling, verbal coaching, verbal

warnings, written formal warnings, and termination. Aside from these formal monitoring

programs, ADAs are encouraged to self-monitor and report compliance issues to supervisors,

Human Resources personnel, or anonymously through EDMC's Corporate Compliance Hotline.

               5.      Corporate Services Marketing And Admissions Department

       EDMC's Corporate Services Marketing and Admissions Department ("CS Marketing and

Admissions") is responsible for, among other things, formulating and implementing policies and

procedures for admissions personnel related to training, compliance, and remediation. While this

department primarily supervises EDMC's ground schools (as opposed to OHE), some of its

policies and procedures also apply to admissions personnel in OHE.




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                       a.     Training And Messaging To Admissions Staff

        Upon hire, an ADA undergoes two stages of initial training, in addition to the more

general training administered through Human Resources (as discussed in the prior section). The

first stage of ADA training is known as "on-boarding" and consists of three weeks of on-campus

training on various topics specific to the ADA job function, such as compliance and recruiting

"best practices." The second stage of training, known as "polishing-off," occurs at a national

five-day training program in Pittsburgh, and provides new hires with further guidance on how to

comport themselves when speaking with students and prospective students.

                              1.      On-boarding

        Although on-boarding occurs at each ground school and OHE, the process is largely

standardized across EDMC. An ADA learns to provide the correct messages to students, gains

knowledge of the financial aid process, observes experienced ADAs, and practices recruiting

strategies.

        During the first week oftraining, each ADA is provided with the "FAQ and Compliance

Guidebook." This guide is an important tool for communicating the Company's expectations

regarding compliance. Through the Guidebook, ADAs learn how to set realistic expectations

and present an accurate portrayal of a prospective student's academic experience, including

information regarding program offerings, financial aid, and graduate outcomes. Each school

system has a version of the Guidebook that is customized to that school, but Guidebooks are

largely similar and are updated by departments, including Legal, Student Financial Services, and

the Regulatory Affairs and Compliance Department.

        Guidebooks, at around 30 pages in length, are divided into topics such as Accreditation,

Transfer Credits, Student Affairs, Career Services, International Issues, Education, and Financial

Aid. Each topic includes information that must be conveyed, supplemental information that can


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be conveyed, and information that can never be conveyed, including bulleted proscriptions

against using certain terms, making certain promises, implying certain outcomes, or making

unwarranted comparisons.

       Similar to OHE AD As, AD As at the ground schools must pass a "closed-book" FAQ

exam testing their knowledge of the Guidebook before interacting with prospective students.

The FAQ exam consists oftrue/false and multiple choice questions ofvarying difficulty. ADAs

have three chances to pass the FAQ exam. If an ADA fails the exam, she must study the

Guidebook for a week and receive additional instruction from a supervisor before retaking the

exam. Per policy, an employee who fails the exam a third time is terminated. Further, all

existing admissions personnel, including ADAs, Senior Directors of Admissions, and Directors

of Admissions, must pass the FAQ exam annually. If current admissions personnel do not pass,

they may not participate in recruiting. If they fail three times, their employment is terminated.

       During their initial on-boarding, AD As also learn the techniques of "partnership selling,"

which is a benefit-based sales methodology that requires ADAs to build a relationship with the

prospective student based on trust and honesty in order to develop a shared goal of determining

the best course for the prospective student. Through the use of open-ended questions and active

listening techniques, ADAs help the prospective students to select the features and benefits of the

school to match their needs and values.

       In practice, an ADA implements these selling techniques through an "appointment set,"

whereby an ADA talks to a prospective student over the phone, learns more about the

prospective student, and endeavors to set an appointment for an interview. If the prospective

student is a dependent, the ADA will also work to include the involvement of the parent,

guardian, or teacher. If a prospective student is interested in continuing on in the process, an




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interview is scheduled with the ADA. During this interview stage, the ADA is counseled to

avoid promising prospective students something that a program cannot offer and to always give

prospective students accurate information. ADAs are further warned that anything less than the

absolute truth would put the company's reputation at risk.

       CS Marketing and Admissions also produces an online training course that contains

information and simulations that allow the ADA to acquire the knowledge, skills, and abilities

necessary to perform the job, including pminership selling, matching features and benefits to

needs and values, and overcoming challenges to commitment. Compliance-related information

is also explained in the program.

       After completing all of the lessons in the training manual and the online training course,

an ADA is required to take the Mastery Exam, which tests whether ADAs have mastered using

open-ended questions, seeking buy-in from a dependent student's family, and providing the

correct documents to a student during an interview. A minimum score of 85 percent is required

for passing the Mastery Exam. An ADA has three attempts to pass the test before he or she is let

go.

       AD As must pass both the FAQ exam and Mastery test before speaking with prospective

students without being monitored. Typically, this does not occur until five weeks after ADAs

are hired. ADAs and their Directors of Admissions must sign off that their multi-week training

has been completed. The Department tracks by campus whether ADAs have submitted training

sign offs, whether they have completed the training within five weeks, and the number and

percent of ADAs, Directors of Admissions, and Senior Directors of Admissions who have passed

the FAQ exam. A review ofthis data for the 2010 academic year indicated that most campuses

achieved nearly 100 percent passage rates for the FAQ exam.




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                               n.     Polishing-Off

        After completing on-boarding, newly hired ADAs must attend a "polishing-off' training

program at EDMC headquarters in Pittsburgh. This training consists of five days oftraining

aimed at ensuring that new ADAs conduct themselves according to EDMC's standards. During

training, each ADA is "observed" several times by the trainers. To pass, ADAs must

successfully demonstrate compliance with the Company's standards. At the conclusion of the

polishing-off, each ADA takes a certification test in order to be allowed to work with prospective

students.

                               111.   Ongoing Training

        Following on-boarding and polishing-off, ADAs receive ongoing training from

Department training specialists. Training visits cover a variety of topics, including financial aid

and common compliance violations. During visits, training specialists also observe ADAs

interacting with prospective students. Between July 2009 and June 2010, training specialists

conducted training visits at 98 percent of ground schools. Many ground schools had two or more

training visits.

                       b.      Compliance And Remediation

        In addition to training and messaging, CS Marketing and Admissions has implemented

other controls designed to ensure that ADAs conduct themselves according to the Company's

standards. These controls include frequent observations and "mystery shopping."

                               1.      Observations

        Observations are designed to track compliance with Company policies by allowing

Directors of Admissions to listen to phone conversations between ADAs and prospective

students. Outlines, developed by CS Marketing and Admissions (and modified by the different

education systems), are used for monitoring observations. A typical outline tracks whether the


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ADA properly introduced himself, explained the purpose of the call, gathered impmiant

information from a prospective student, made any misrepresentations, and concluded the call in a

proper manner. After the observations, Directors of Admissions review the results with AD As.

       The number of observations an ADA undergoes varies per school system. At The Art

Institutes, Senior Directors of Admissions must submit at least three interview observations and

three phone observations on a monthly basis. Directors of Admissions must conduct at least five

interview observations and five phone observations on a monthly basis. At South University,

Senior Directors of Admissions and Directors of Admissions are required to do two appointment

sets and two interviews per month. At Brown Mackie, Senior Directors of Admissions are

required to do three appointment sets and three interviews per month and Directors of

Admissions are required to do five appointment sets and five interviews per month. Finally,

Argosy Senior Directors of Admissions and Directors of Admissions are required to do three

appointment sets and three interviews per month.

                              n.      Mystery Shopping

       In addition to observations of ADAs conducted by EDMC employees, CS Marketing and

Admissions also hires a third-patiy vendor to "mystery shop" ADAs. Similar to the GAO

investigation, mystery shopping consists of a vendor posing as a prospective student over the

telephone, asking trick questions of the ADAs, and assessing the professionalism and qualitative

responses from AD As. Mystery shopping occurs via phone and online. The vendor supplies the

department with a recording of the call and provides a brief checklist of points occurring during

the call. A training specialist then documents compliance infractions, if any.

       Similar to the scale used by OHE Internal Audit and Compliance during its call

monitoring of OHE AD As, each infraction is graded on a scale of 1 through 4, with four being

the most serious infraction. A Level 1 infraction might involve concerns such as the


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misstatement of factual information or not fully responding to a compliance question. Level 2

infractions involve slightly more severe compliance infractions than Level 1 infractions. Level 3

infractions can involve an unintentional incon·ect response to a compliance question or ignoring

the proposed F AQ Guidebook response. Finally, Level4 violations involve the most serious

infractions, such as intentionally ignoring the F AQ Guidebook response or demonstrating a

blatant disregard for the facts. The policy for remediating infractions is largely similar to the one

used by OHE.

       Level 3 and Level 4 infractions are reported directly to the Vice Presidents of Admissions

and Human Resources for that the school. Infractions may also be communicated to the Director

of Admissions and Senior Director of Admissions, Campus Presidents, Regional Vice Presidents,

and sometimes the education system president himself. For all mystery shopping, regardless of

the infraction, the offending ADA and his or her supervisor must sign a verification that the

ADA was retrained on appropriate conduct. All disciplinary actions, including verbal warnings,

are recorded in the employee's personnel file. Furthermore, Senior Directors of Admissions and

Directors of Admissions who fail to follow through with ADAs or who consistently have ADAs

with infractions may be held accountable through verbal warnings, written warnings, or

termination.

       For more serious infractions warranting termination, one education system uses a process

whereby a Director of Admissions submits a termination recommendation. The recommendation

thereafter is reviewed by the Regional Vice President and Human Resources, the VP of

Admissions, and the school system President. If all parties agree, an ADA's employment will be

terminated.




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                 6.    Financial Aid

        EDMC's internal controls related to financial aid exist Company-wide. Those controls

fall into three broad, overlapping areas: intake, processing, regulatory compliance. As discussed

in this section, contrary to the Demand Letters' allegations, these controls work to ensure that the

Company remains compliant with regulations regarding financial aid and allow the Company's

Board of Directors to oversee the Company's operations and business practices with respect to

financial aid.

                       a.      Intake

        Financial aid applications are initiated through campus representatives in campus-based

Student Financial Services ("SFS") departments. Those departments are responsible for training

and compliance with respect to intake.

        Campus directors are responsible for training SFS representatives in connection with the

intake of financial aid applications. Directors educate SFS representatives on the student

counseling and financial planning process by discussions on costs, financial aid options, and how

the balance of tuition can be covered. Some schools provide additional training at the campus

level. At Brown Mackie College, standard financial aid training sessions are held twice a month

and all financial aid personnel are required to attend. At these meetings, discussions are held on

new regulations or issues related to the GAO Report. Additionally, prior trainings on financial

aid topics are posted on EDMC's intranet site and go back two years.

        In addition, SFS representatives undergo "Back to Basics" training, whereby they learn

rules, regulations, and best practices related to financial aid. The "Back to Basics" Guide is for

all EDMC staff persons who assist students in the financial aid process. Each new award year,

SFS staff and other campus staff (such as AD As) who must understand the financial aid process

are required to review the Guide.


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       With regard to accuracy of intake, SFS mangers conduct periodic reviews of intake files

to ensure compliance. These assessments include sampling financial aid files and related

computer system records for each SFS representative. The purpose of the review is to identify

any training needs and to make corrections before errors are discovered by an outside audit. Per

policy, errors uncovered require additional auditing and training.

                       b.      Processing

       The Financial Aid and Compliance Department is a central location for the processing of

all financial aid applications, disbursement of funds to students, and refunds to lenders or the

Government. The centralization (the planning for which began before the IPO) is designed to

minimize financial and regulatory risks associated with the processing of Title IV funds to the

Company through standardization. To ensure standardization, extensive training and

assessments program have been developed for staff members in this department. In addition,

employees are required to complete training upon promotion to a new area or a move to a

different area within the department.

                       c.      Regulatory Policy and Compliance

       The Student Finance and Compliance Department addresses regulatory policy and

compliance. The department oversees financial aid compliance audits of schools by an external

auditor; prepares schools for compliance reviews by the DOE; ensures that institutions remain

eligible for financial aid; reviews data submitted to the DOE, such as graduation rates; provides

ad hoc advice across EDMC on compliance with DOE regulations; interfaces with the DOE and

assesses new and proposed regulations regarding financial aid; and places a representative on the

Business Practices Committee, which provides guidance on accuracy of statements in EDMC's

advertising. This department has senior management with extensive experience in Title IV




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regulations who interface with the DOE and serve as internal experts on regulation interpretation

and compliance.

               7.      Regulatory Affairs

       The Regulatory Affairs and Compliance Department ("Regulatory Affairs") works to

ensure, among other things, that EDMC's institutions are accredited, either nationally, regionally

or programmatically, and if accredited, remain in compliance with the governing accrediting

organization's standards. Thus, the Department serves as an internal control to protect the

quality of academic programs offered by EDMC's schools.

       As part of their work, representatives from Regulatory Affairs visit each EDMC campus

approximately every two years to ensure compliance with accrediting organization requirements.

In advance of a visit by an accrediting organization, representatives from Regulatory Affairs

conduct "mock" visits, which mimic the review conducted during an accrediting organization's

visit. In advance of a mock visit, institutions provide the types of documents reviewed by

accrediting organizations to the team visiting from Regulatory Affairs. Mock visits address a

wide range of institutional areas, including, for example, organization and communication,

physical facilities and equipment, resources for clinical instruction, library and informational

resources, admissions, faculty and staff qualifications, and cuiTiculum.

       Regulatory Affairs representatives make multiple campus visits each month. As part of

each mock visit, the Regulatory Affairs team completes a report showing the accreditation-

related standards audited and whether the institution has "met" or "not met" the standards. The

Department tracks which campuses have been visited, which accrediting organizations have

scheduled visits and the reason for the visit, whether a department representative will be on-site

during the visit, and the status of an institution's accreditation application.




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               8.     The Business Practices Committee

       The Company also has created an employee-level committee, called the Business

Practices Committee ("BPC"), that reviews materials published by the Company in order to help

ensure that the material created and circulated by EDMC is accurate and complies with relevant

regulations. This Committee is yet another example of the controls that have been in place at

EDMC to promote accurate representations and deter misrepresentations in messaging to

students and prospective students.

       For example, the BPC requires submission of any broadcast, print, or electronic materials

provided to current or potential students or the general public concerning a school, its program

offerings or services provided, and requires schools to create and maintain advertising files. The

BPC conducts quat1erly meetings and is comprised of members from the following departments:

Regulatory Affairs, Legal, Student Financial Services and Compliance, and CS Marketing and

Admissions.

       The BPC also disseminates a handbook, called the Business Practices Handbook ("the

Handbook"), to assist EDMC employees in ensuring that all EDMC marketing and promotional

materials conform to accreditation, licensing, legal and DOE requirements. The Handbook

instructs employees on good practices regarding compliance with regulatory requirements. For

example, the Handbook explains that almost all accrediting and licensing agencies express a

general prohibition of all false or misleading advertising and that a regulatory agency's silence

on the use of a specific word, phrase, or concept related to advertising and marketing does not

equal assent to use that word, phrase, or concept. In addition, the Handbook warns that, because

regulations are constantly evolving to address changes in the industry, a compliance review of

marketing materials in one year does not necessarily mean that those materials are approved for




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subsequent years. More generally, the Handbook counsels against making claims about the

Company's schools or programs that cannot be supported by empirical evidence.

               9.      Sarbanes-Oxley Controls

       Section 404 of SOX requires management and external auditors to report on the adequacy

of the Company's financial reporting controls. To comply with SOX, the Company has already

established and maintained an internal control framework for accurate financial reporting. This

framework allows the Company's directors and officers to oversee the accuracy of the

Company's financial reporting.

       The Controller and Chief Accounting Officer oversees the internal control framework

related to financial controls. The Company assesses financial risk areas, including financial aid,

valuing student accounts, setting bad debt reserves, and valuing goodwill, and provides auditors

in lAD with a testing program in addition to their regular audit program. Data collected during

audits-of both individual school campuses and corporate processes-is provided to the office of

the Controller and Chief Accounting Officer department for compilation and assessment. Last

fiscal year, for example, this department and auditors from lAD conducted approximately 400

tests across various areas ofthe Company. Those tests addressed the accuracy of financial

statement reporting, including tax, revenue, general accounting, student accounting, and

procurement. Following testing, deficient processes are identified and remediated. Aggregate

financial controls data is also provided to the Company's outside auditor, for validation, further

testing, and inclusion in financial rep01iing as part of the annual audit process.

               10.     The Audit Committee

       As a publically-traded company, EDMC complies with the requirements imposed under

SOX and the NASDAQ Rules on the committee structures. These rules mandate the delegation

of many significant matters to committees whose membership is limited to independent


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directors. Under SOX, each public company must have an independent audit committee, with

one member who is a financial expert. 41 The Company also complies with NASDAQ rules

regarding audit committees.

         The EDMC Audit Committee was created to assist the Board in its oversight of: (i) the

integrity of the financial statements; (ii) compliance with legal and regulatory requirements; (iii)

ensuring the qualifications and impendence of the Company's independent auditors; (iv) the

performance of the independent auditors; and (v) the internal audit function at the Company. To

perform these duties, the Board has delegated to the Audit Committee, among others, the

following powers and responsibilities: (i) reviewing the scope and plans for both internal and

independent auditors; (ii) establishing "whistleblowing" procedures; (iii) reviewing the

Company's legal and regulatory compliance; and (viii) ensuring compliance with the Company's

Business Conduct Guidelines and reviewing conflicts of interest. In performing these duties, the

Audit Committee tracks management's corrective action plans, reviews the Company's financial

risk and control procedures, and ensures its compliance with tax, legal and regulatory matters.

         B.       FINDINGS ON THE TITLE           IV CLAIM

         As a threshold matter, the Litigation Committee investigated whether EDMC's

admissions compensation plan (the "Plan") "as designed" was flawed and in violation of the Act.

This same issue was recently considered by the federal court in the False Claims Act Litigation

brought against EDMC. The court dismissed the plaintiffs' challenges to the Plan, "as

designed," holding:

                  ADA salaries were "fixed" under the Plan, as defined in 34 C.P.R.
                  § 668.14(b)(22)(ii)(A), as each bi-weekly payment to be received
                  by an ADA during the six-month period until the next adjustment
41
     SOX§ 407(A) (requiring each company "to disclose whether or not, and if not, the reasons therefore, the audit
     committee of that issuer is comprised of at least I member who is a financial expert, as such term is defined by
     the Commission.").



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              was for the same amount. The Court cannot accept Plaintiffs'
              effort to interpret the term "fixed" to mean only an "hourly" wage
              based upon "actual time worked." To the contrary, the regulation
              distinguishes a "fixed annual salary" from a "fixed hourly wage"
              and deems both to be permissible. A salary decoupled from hours
              worked- even if calculated partially on past Student Start points-
              is "fixed" compensation. See, e.g., Merriam-Webster. com
              (defining "salary" as "fixed compensation paid regularly for
              services") .... Under the Plan as written, ADAs are paid a "fixed
              salary," not a "commission."

                                        *       *       *
              It is undisputed that "adjustments" were not made more than twice
              during any twelve month period. Moreover, by its very nature, the
              matrix used to determine and adjust compensation cannot be based
              "solely" on quantity. Instead, the compensation generated by the
              matrix can only be derived by combining the quantitative factor on
              one axis with the "quality factors" on the other axis. In other
              words, the use of the matrix, by definition, could not have adjusted
              compensation solely on recruitment numbers.

Mem. Op. and Order of Court in False Claims Act Litigation [dkt. no. 183] at 18-20.

       The federal court's holding in the False Claims Act Litigation is consistent with the

investigation and findings made by the Committee. The investigation revealed that EDMC

sought advice from outside experts at the time the Plan was designed and appropriately relied on

these outside experts in implementing the Plan. The investigation also revealed that individuals

at EDMC who were directly involved in the implementation of the Plan believed in good faith

that the Plan, as designed, complied with the Act and its Safe Harbor provisions. Given these

facts, the Committee determined that there is no basis to pursue a claim ofbreach of fiduciary

duty against any individual director ofEDMC based on the design ofthe Plan.

       The Committee also conducted an in-depth review of whether the Plan, "as

implemented," violated the Act. This phase of the investigation included interviews of over 30

individuals who had hands-on experience implementing the Plan over many years. The

investigation focused on the asse1iion that the Plan was a "sham" as implemented and that


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salaries for admissions personnel were based "solely" on new student enrollments, without

reference to other "soft" factors. The Committee did not find factual support for this assertion.

Indeed, the evidence developed throughout the investigation presents a compelling case to the

contrary. The Committee's investigation also identified a series of internal controls, including

standardized training materials and policy statements, that support the conclusion that EDMC's

senior management and directors had a good faith basis to believe that the Plan, as implemented,

complied with the Act.

               1.      As Designed, EDMC's Compensation Plan Complied With The Act

       In 1992 Congress amended the Act to preclude schools whose students receive federal

student financial aid from paying employees incentive compensation based on student

enrollment. Known as the "incentive compensation ban," the Act specifically precluded:

               Provid[ing] any commission, bonus, or other incentive payment
               based directly or indirectly on success in securing enrollments or
               financial aid to any persons or entities engaged in any student
               recruiting or admission activities.

20 U.S.C. § 1094(a)(20). The ban, however, did not include "salary" as one of the prohibited

types of compensation.

       In 2002, the Department of Education ("DOE") promulgated twelve "safe harbors" to the

Act, which the DOE described as "compensation an-angements that do not run afoul of the

incentive compensation prohibition" of the Act. 67 Fed. Reg. 67054. One of the safe harbors

permitted colleges and universities to provide recruiters with salary or hourly wage adjustments

based on the number of students enrolled, so long as student placement was not the sole

compensation factor:

               Activities and arrangements that an institution may can-y out
               without violating the [Act] include, but are not limited to:




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               (A)     The payment of fixed compensation, such as a fixed annual
               salary or a fixed hourly wage, as long as that compensation is not
               adjusted up or down more than twice during any twelve month
               period, and any adjustment is not based solely on the number of
               students recruited, admitted, enrolled, or awarded financial aid....

34 C.F.R. § 668.14(b)(22)(ii)(A) (eff. July 1, 2003 to June 30, 2011) (the "Safe Harbor").

       Thus, the Safe Harbor permitted the recruiters' salaries to be adjusted based on student

enrollments, provided that (1) recruiters' salaries were "fixed" and not adjusted more than twice

during any twelve month period; and (2) such adjustments were not the "sole" factor considered.

On October 28, 2010, the DOE amended its regulations to repeal the safe harbors, including

Section 668.14(b)(22)(ii)(A). Those amendments went into effect in July, 2011. Prior to the

Safe Harbor's repeal, EDMC implemented a new admissions compensation plan that adhered to

the requirements of the Act following the repeal of the Safe Harbors.

       After the Safe Harbor was promulgated in 2002, EDMC drafted and adopted a Plan in

accordance with that regulation. In developing the Plan, EDMC consulted two outside law firms

nationally recognized in education law. These firms were retained by EDMC to assist in drafting

the Plan in accordance with the Act, including the Safe Harbors. Neither firm was apprised that

another law firm was retained. Both firms independently confirmed that the Plan, as designed,

was in compliance with the Act and the Safe Harbors.

       As part of its investigation, the Committee interviewed the principal outside attorney who

had been retained to advise on the design of the Plan. This attorney is an expert in Title IV

issues and had advised numerous clients on the design and implementation of compensation

plans. The attorney reiterated his opinion that EDMC's Plan, as designed, complied fully with

the requirements of the Act.




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         The Plan was effective from July 1, 2003 until Spring 2011. Throughout its time, the

Plan maintained the same basic framework. 42 Under the Plan, all ADAs were provided a fixed

salary that was adjusted only twice per year and was not based (or not based "solely") on the

number of students enrolled (i.e., on quantitative factors). Newly hired ADAs were not on the

Plan. Their salaries were based exclusively on their prior experience and education and were

subject to a six-month introductory period. As discussed in more detail below, most ADAs

employed between six months and 18 months were also not on the Plan. Their salaries were

determined on the basis of qualitative factors alone, without regard to any quantitative factors.

Only more senior ADAs (some ofthose employed 18 months and all ofthose employed longer

than 18 months) were on the Plan. Those ADAs' salaries were determined on both qualitative

and quantitative factors and were adjusted to reflect the overall performance evaluation.

Specifically, the Plan contained the following relevant features:

         First, ADAs were reviewed on, and awarded points for, "Quality Factors." Under the

Plan, ADAs were evaluated on five "Quality Factors," namely Job Knowledge, Business

Practices and Ethics, Professionalism, Customer Service, and Initiative. ADAs were assigned a

rating for each factor, ranging from five (outstanding) to one (unsatisfactory). The following

chart provides an overview of the Quality Factors, as taken from one ofEDMC's Plan

guidebooks distributed to ADAs and managers:




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     The Plan was revised slightly from time to time, but none of these changes altered the Plan's basic structure
     implemented in 2003. One of the outside counsel who approved the Plan also reviewed and approved all
     revisions to the Plan. No changes were ever made to the Plan without that counsel's review and approval.
     In addition, not all of EDMC's education systems were on the Plan. Argosy University ground schools were
     never on the Plan, and Brown Mackie Colleges only adopted the Plan close to when it was phased out.



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                              Overview of Quality Facto1·s
 Job Knowledge                     ,t;,clheres to approved recruitment methods and practices. Knows
                                   the prodtJcts. Understands fellow enrol!ment and education
                                   depan:ment functions and objectives. Uses the enrolfment
                                   systems and tecl1notogy correctly.
 Business Practices and Ethics     Demonstrates sound business eihics and business principles in
                                   serving prospective students and applicants, including
                                   achievement on !he Comp!iancelf AQ test
 Professionalism                   .A.ssists prospective students and applicants in a cooperative
                                   manner. Vv'illing to assist students assigned to oihers. Displays a
                                   positive atti!ude in the war~; environment.
 Customer Service                  Ser.•es prospective students, applicants and fellow employees in
                                   a timely and accurate manner. 'Works to ree..olve issues and acts
                                   in a consuitaf.ive sales ro!e in achieving positive customer
                                   satisfaction.
 Initiative                        Evaluates, selects am:l appropriately acts on various methods
                                   and strategies for effedio,'ely ancl appropriately &olving problems
                                    and meeting objectives before being asked or required to de so.
                                   Self-starting rather than passive!~;' compl:,.ting with instructions or
                                    assignments.


The guidebook on the Plan provided a rubric describing the behaviors ADAs were required to

demonstrate for each Quality Factor. For example, ADAs "met expectations" for the Quality

Factor of Business Practices and Ethics if they:

         •    "Conduct[ed] all activities in accordance with the highest ethical
              standards"

         •    "[Did] their best to accurately and completely portray the school's
              educational programs, expected outcomes, student services and
              financial considerations to students, parents and educators"

         •    "Usually determine[d] the appropriateness of candidates for
              admission"

         •    "Adhere[ d] to all state, federal accreditation and Institute rules and
              regulations regarding student recruitment"

         •    "Usually treat[ ed] people equitably and with respect"

         •    "Buil[t] trust through fulfilling commitments made to students,
              prospective students, co-workers, and supervisors"

         •    "Maintain[ed] confidentiality of sensitive information"

         •    "Recognize[d] when situations or directives [were] directly or
              indirectly in conflict with professional ethics or with the organization's
              stated values, and [took] the appropriate action"



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       Second, ADAs were awarded "New Student" Points. After Quality Factor points were

determined, AD As were awarded "New Student Points" for students recruited over the previous

period. Typically, ADAs received three New Student Points for each student recruited.

Characteristics of the student recruited, however, such as whether the student was from outside

the United States, could affect the number ofNew Student Points awarded. EDMC Corporate

Services would then centrally calculate the New Student Points for all ADAs.

       Third, using the "Matrix," a baseline salary was determined using New Student Points

and Quality Factors points awarded to ADAs. For ADAs who were on the Plan, their baseline

salaries were determined by finding the total New Student Points and total Quality Factors point

on a chart known as the "Matrix." The New Student Points were tracked on the Matrix's Y-axis,

and the Quality Factors points were tracked on the X-axis. The intersecting point between the

two totals determined an ADA's baseline salary.

       One guidebook distributed to all ADAs and their managers described the Matrix as

follows:




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    ADA/Associate Annualized Salary Chart
    The combination of the total number of new student points and quality factor points
    determines the participant's annualized salary. (Adjustments may apply to this
    annualized salary-as applicable-for labor market, years of service and Associate
    management responsibilities.)

    The following chart provides annualized salaries based on new student points and
    quality factor points.




As the above Matrix makes clear, baseline salaries for ADAs could not have been calculated

without considering both the total Quality Factors points and the total New Student Points. Each

time salaries were calculated, moreover, the Matrix required new Quality Factors points and

New Student Points to be generated. Thus, by design, ADA salaries were never based "solely"

on New Student Points, student starts, students enrolled, students recruited, or the like.

       The Matrix also makes clear that Quality Factor points significantly affected ADA

compensation. For example, as the chart above demonstrates, the salary for an ADA earning no

New Student Points could increase as much as 20 percent based on Quality Factor points alone

(i.e., from $26,000 to as much as $33,000). Even for ADAs with high numbers of students

recruited, Quality Factor points could have varied compensation by as much as 15 to 20 percent.


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For instance, an ADA earning between 401 and 425 New Student Points could earn between

$86,000 and $103,000 based solely on Quality Factors points, a salary swing of almost 20

percent.

        Finally, the baseline salary could have been further adjusted. Once ADAs' baseline

salaries were determined, they could have been adjusted upwards by three to 15 percent for

AD As with at least two years of service; by $1,000 to $5,000 for AD As who managed other

AD As or particular projects; and/or by five to 20 percent based on the cost of labor in a

particular geographical area, as determined by the Economic Research Institute data on wage and

salary differentials.

                                          *      *       *
        The fact that ADA compensation was determined, in part, based on the number of

students recruited does not itself violate the Act. The Safe Harbor specifically allowed for

incentive-based compensation if two criteria were met: (i) the compensation was "fixed;" and

(ii) the compensation was "not based solely on the number of students recruited, admitted,

enrolled, or awarded financial aid." 34 C.F.R. § 668.14(b)(22)(ii)(A) (emphasis added). The

Plan met both of these requirements, as outside experts confirmed before the Plan was

implemented.

        First, ADAs' compensation under the plan was "fixed compensation" within the meaning

of the Act and the Safe Harbor. The term "fixed compensation" includes "a fixed annual salary"

that is not adjusted "up or down more than twice during a twelve month period." !d. Here, the

Plan provided for a fixed salary that was only adjusted every six months and paid on an

annualized basis. Nothing about this payment scheme ran afoul of the Act, which defined "fixed

compensation to include up to two pay adjustments during a 12-month period," 67 Fed. Reg.




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67054. Indeed, the DOE has admitted that the Safe Harbor "immunized incentive payments built

into semi-annual compensation plans." Def. 's Mot. To Dismiss For Lack Of Jurisdiction, Or In

The Alternative, For Summary Judgment, Career College Ass 'n. v. Duncan, No. 11-038, at 5

(D.D.C. Mar. 18, 2011).

       Second, the Plan did not determine compensation based "solely" on "number of students

recruited, admitted, enrolled, or awarded financial aid." According to the DOE, "[i]n this safe

harbor, the word' solely' is being used in its dictionary definition." 67 Fed. Reg. 67055 (Nov. 1,

2002); see also Webster's Third Int'l Dictionary 2168 (1993) (defining "solely" as "singly,"

"alone," and "to the exclusion of alternate or competing things"). Aside from the New Student

Points, ADAs' compensation was based on the Quality Factors and also may have been based on

length of service and additional responsibilities.

       Based on the foregoing, the Committee determined that EDMC, and its Board of

Directors and senior management, had a good faith basis to believe the Plan's design complied

with the Act.

                2.     As Implemented, EDMC's Compensation Plan Complied With The
                       Act

       The Demand Letters assert the Plan as implemented violated the Act. Specifically, the

claim is made that the Plan was a "sham" because ADAs were compensated "solely" on the

number of new students enrolled in their programs.

       To assess how the Plan had been implemented historically, and to determine whether it

was a "sham," the Litigation Committee conducted an extensive review of past practices at

EDMC with regards to the implementation of the Plan. First, the Litigation Committee

interviewed upper-level managers involved in designing, implementing, and administering the

Plan. Second, the Litigation Committee interviewed cunent and former ADA managers who



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completed ADA reviews under the Plan. These interviews did not corroborate the "as

implemented" allegations. Third, the Litigation Committee reviewed the internal controls that

EDMC had in place to ensure that the Plan was implemented correctly. The review determined

that appropriate internal controls were in place throughout the relevant period and that these

controls were properly applied to ensure compliance with the Act.

                          a.   Evidence From Interviews Of Upper Management Employees

       The more than 30 EDMC employees interviewed included upper-level management

personnel involved in designing and implementing the Plan. These interviews did not support

the claims made in the Demand Letters. The interviews did not adduce facts indicating (or even

suggesting) that members of senior management of EDMC knew or were on notice that the Plan

was a "sham" as implemented. In fact, the evidence developed through the investigation

indicates the contrary.

       The Quality Factors were designed with the help of an outside human resources

consultant to represent EDMC's values and to provide checks and balances on the quantitative

assessment. When the Plan was rolled out, all Directors of Admissions and Senior Directors of

Admissions were trained on how to assign the Quality Factors points and provided a guidebook

that included rubrics detailing the specific behaviors that had to be demonstrated for ADAs to

meet or exceed expectations in each of the five Quality Factors. This is the rubric from one

guidebook for the Quality Factor of Professionalism:




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                                                                                       Needs                           Meets                                 Highly                            Outstanding
                                               Unsatisfactory                       Improvement                     Expectations                            Effective                          Performance
                                        Does not display                    !leeds to accept                Accepts responsibility for           Acts with a positive altitude         Shows willingness to learn
 Professionalism                        professionalism                     responsibility and mJintain a   ones own actions                     toward work and change                new procedures and suggests
                                                                            positive altitud;                                                                                          changes to enhance results
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In addition, upper-level management had conference calls with Campus Presidents and

Admissions Specialists43 on how to implement the Plan conectly. Following the initial roll out,

proper implementation of the Plan was covered at a formal, central Director of Admissions

training program or by individual, department-level training.

                 ADAs were also provided guidebooks describing the Plan. These guidebooks included

the Quality Factor rubrics. ADAs were required to sign off that they had received the guidebook,

that they had been explained the key terms of the Plan (and any changes to the Plan), that they

had been given an opportunity to ask questions about how the Plan worked, and that their

questions had been answered. When slight variations were made to the Plan and a new version

was reissued, managers and AD As were retrained on the Plan and how to properly implement it.




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       At the Company, an Admission Specialist is an EDMC Corporate Services Marketing and Admissions
       employee responsible for supervising multiple ground school locations in a geographic region.



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         According to upper-level managers, the message during trainings about the relationship

between the New Student Points and Quality Factor points was that the two were to be treated

separately. None of the upper-level managers, based on their longstanding experience with

EDMC and the Plan, considered the Plan a "sham" or believed that student recruitment was the

"sole" compensation factor under the Plan.

         The upper-level managers interviewed also had no knowledge of reports that the Quality

Factors were not being assigned as the Plan required. ADAs could report any improper

implementation to local Human Resources representatives, Campus Presidents, or through

EDMC's compliance Hotline, which was available 24 hours a day, seven days a week. Improper

implementation of the Plan could also have been identified during the multi-level review process,

discussed further below. No upper-level manager interviewed was aware of any such reports or

complaints.

                          b.       Evidence From Interviews Of ADA Managers

         The Litigation Committee also interviewed employees who had administered reviews

under the Plan as managers in the Admissions Department. These managers were chosen

because of their longevity with EDMC and their experience with administering the Plan.

Although the allegations in the False Claims Act Litigation dealt only with two former

employees who worked at OHE in Pittsburgh between 2004 and 2007, 44 the managers

interviewed by the Litigation Committee collectively work or have worked for each of the four

EDMC colleges, in both online and ground divisions. These employees included current and

44
     The two relators in the False Claims Act Litigation are Lynntoya Washington and Michael Mahoney. Ms.
     Washington, according to the Complaint, worked as an ADA for The Art Institutes Online Division located in
     Pittsburgh from 2004 through 2007. False Claims Act Litig. Compl. ~ 20. Thus, Ms. Washington worked in an
     entry level job in one division of EDMC. Mr. Mahoney worked as Director of Training for ORE for less than a
     year, from October 2, 2006 through June 22, 2007. ld ~ 21. His job was to teach salesmanship, not to
     implement any compensation practices or train anyone on compensation practices or make any compensation
     decisions. ld ~ 130.



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former Senior Directors of Admissions, Directors of Admissions, and Admissions Managers, all

of whom managed ADAs and completed hundreds of ADA reviews under the Plan between 2003

and 2011. Some of these Senior Directors of Admissions, Directors of Admissions, and

Admissions Managers were themselves AD As reviewed under the Plan. These interviews were

designed to elicit first-hand experiences from employees across EDMC, to cover a wide range of

time, and to elicit information from individuals with hands-on experience in applying the Plan to

determine AD A compensation.

       Despite direct questioning about the allegations, not a single one of these ADA managers

considered the Plan a "sham" or believed that student recruitment was the "sole" compensation

factor under the Plan. Indeed, many of the managers expressed anger, dismay, or frustration in

response to these allegations. Based on the foregoing, the Committee concluded that allegations

that the Plan was a "sham" or based "solely" on student recruitment were not corroborated.

                      c.      EDMC Had Appropriate Internal Controls In Place To Ensure
                              The Plan Was Implemented As Designed

       The Litigation Committee also reviewed the specific internal controls in place at EDMC

relevant to the implementation and administration of the Plan. These controls included training

and guidebooks on proper implementation of the Plan, a standardizing review process with

forms, vetting of each ADA's Quality Factor review through a multi-level management review

process, a policy requiring that Quality Factors points be calculated prior to calculating New

Student Points, and a policy providing ADAs and managers with the opportunity to anonymously

report violations. Each ofthese controls is described below.

       ADAs and managers were provided guidebooks. EDMC issued guidebooks that

described the Plan in detail and, notably, provided detailed instruction on how it should be

implemented. As discussed above, the guidebooks clearly defined the Quality Factor rating



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criteria, as well as all other aspects of the Plan. The Committee found that the guidebooks were

ubiquitous across EDMC schools. In fact, all of the managers interviewed specifically

mentioned using the guidebooks' Quality Factor rubrics to rate ADAs on Quality Factors. The

guidebook's clear criteria and its widespread use further demonstrate that the Plan was being

implemented as designed.

       Training emphasized that New Student Points and Quality Factors were separate.

Interviewees almost uniformly described extensive training on the Plan, including emails,

presentations, WebExs, in-person national trainings, and in-person local trainings. That training

emphasized proper implementation of the Plan. Some interviewees, moreover, explained that the

training stressed that Quality Factors should be treated separately and distinctly from New

Student Points and not as surrogates for New Student Points. Thus, the training stressed exactly

the opposite of what the Demand Letters' allegations suggest.

       Use of templates encouraged consistent implementation. Managers at EDMC used a

form that listed all ofthe Quality Factors and required that numerical ratings be justified by

written nalTatives. The use of these standardized review templates forced managers to

consistently implement the Plan's Quality Factor review component and to justify their Quality

Factor points with narratives based on non-student recruitment criteria.

       Managers' reviews were vetted through a multi-level approval process. Quality Factor

reviews were completed in the first instance by ADAs' immediate supervisors. In ground

schools, ADAs were directly supervised by a Director of Admissions or in some cases a Senior

Director of Admissions. In OHE, Admissions Managers usually completed the Quality Factors

reviews.




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         Once completed, managers submitted Quality Factors reviews to more senior

management for approval. At ground schools, each ADA's Quality Factor review had to be

approved by: (1) the Director or Senior Director of Admissions, (2) the President (or Human

Resources Director, at the President's discretion), (3) an Admissions Specialist, and (4) EDMC's

central Corporate Services. In OHE, each ADA's Quality Factor review had to be approved by:

(1) a Director of Admissions, (2) a Senior Director of Admissions, (3) the Vice President of

Admissions for OHE, (4) Human Resources, and (5) Corporate Services.

         The review process was not a rubber stamp. Employees interviewed described how

upper management would critique their reviews if ratings were not supported by specific

instances of conduct.

         Managers completed Quality Factor reviews before even knowing ADAs' New Student

Points. Quality Factor reviews were completed, approved, and submitted to EDMC Corporate

Services before New Student Points were calculated and distributed to managers. After an

ADA's Quality Factors review was submitted and an ADA's New Student Points calculation

done, a salary was then determined using the Matrix, along with any further adjustments made

based on location, tenure, or management responsibilities. This salary, together with an

explanation for the basis of the salary, was returned by Corporate Services to managers in a

salary and performance worksheet. Managers then reviewed the worksheet with the ADA, who

signed off that it had been discussed with the manager. This divided process-whereby Quality

Factor reviews were completed first and without knowledge of the New Student Points-ensured

that New Student Points could not provide the basis for Quality Factors points. 45


45
     One upper-level manager explained that it was not possible to accurately guess New Student Points in advance
     of receiving the calculation from Corporate Services because ADAs did not have any knowledge of which
     students were backed out of the calculation due to lack of attendance. He estimated that, historically, some
     schools have had back out rates as high as 15 to 20 percent.



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       Internal Audit Departments audited the performance review process. Both ofEDMC's

internal audit divisions, the ground school and corporate-focused Internal Audit Department and

OHE's Internal Controls and Compliance Department, reviewed ADA performance reviews to

make sure they were fully and timely completed, including making sure that Quality Factors

points had been assigned and narratives were completed, that the ADA, the manager, and upper-

level management had signed off on every review, and that ADAs were not reviewed more than

two times per year.

       ADAs or managers could report violations through the Corporate Compliance Hotline.

As discussed above, since 2003, EDMC has operated its Hotline through which employees could

anonymously report compliance violations. Accordingly, if ADAs or managers believed that the

Plan was not being implemented correctly, they could have reported those violations through the

Hotline. A review of nearly three years' worth ofl-Iotline data, however, did not reveal any

complaints that the Plan or the Quality Factors were a "sham" or based "solely" on New Student

Points. The lack of real-time complaints further underscores the absence of evidence that the

Plan was not implemented as it was designed.

       Fmiher, beginning in 2009, ADAs were required to sign a certificate that their

performance evaluations were completed in accordance with the Plan. The certification included

a specific contact for reporting improper implementation of the Plan. The EDMC personnel who

reviewed those complaints recalled no complaints that the Plan was a "sham" or based "solely"

on students recruited.

               3.        Miscellaneous Title IV Allegations In The Demand Letters

       The Demand Letters make other allegations regarding admissions practices at EDMC.

Specifically, the Demand Letters allege that (i) ADAs are given commissions, bonuses and

awards based solely on obtaining new student enrollments; (ii) ADAs enroll students without


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thoroughly reviewing their academic transcripts and admissions materials in order to determine

whether they are qualified to attend the pmiicular EDMC institution or online program; and (iii)

ADAs pressure prospective students into accepting or changing financial aid packages or into

expanding those financial aid packages to cover full-time tuition. As set forth below, the

Litigation Committee found no basis to support these allegations.

                        a.    Commissions, Bonuses And Awards Based Solely On
                              Obtaining New Student Enrollments

       The Demand Letters allege that EDMC provided admissions personnel with all-expense-

paid vacations and gifts based on student recruitment. Historically, EDMC's employees have

been recognized for performance through company-wide programs, such as the President's Club

and Top Achievers' Club. These programs included an annual all-expense-paid trip to an off-site

location for a training program. Neither of these programs nor any similar program is currently

in effect, and they have not been since around 2008 or 2009.

       More fundamentally, these programs did not violate the Act. In 1995, EDMC and other

educational institutions sought guidance from the DOE on whether the Act would "prohibit an

institution from paying the travel and related business expenses incurred by its employees for

attendance at annual business meetings, when only the institution's top recruiters are invited to

such meetings." See Letter from DOE Deputy Director, dated Feb. 6, 1995. In a February 6,

1995 letter, the Department advised that "paying for the travel and related expenses incurred for

attendance at such business meetings would not be in violation of' the incentive compensation

provision of the Act. I d.

        Moreover, during the Depmiment of Justice's review ofEDMC's compensation practices

in 2000 and 2001, EDMC described the President's Club program, provided numerous

documents regarding the program, and expressed its opinion that the program was proper



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pursuant to the Department's February 6, 1995 letter. The Government never refuted EDMC's

position regarding the President's Club or took regulatory action over the President's Club.

Indeed, following EDMC's explanation, the Government dropped its review without requesting

any change in compensation practices. Thus, there is no merit to the claim that the President's

Club or similar programs violated the Act.

       Beyond the President's Club and similar programs, EDMC prohibits monetary awards for

performance and has done so for many years. EDMC distributes a detailed written policy

precluding employees from receiving any incentives of monetary value. Any free lunches or

events are part of all-inclusive "team builders" or trainings where participation is not based on

performance.

       Moreover, a review of the Hotline process demonstrated that EDMC's policy was

followed. Only one submission out of the hundreds reviewed involved a substantiated instance

of a manager giving AD As commissions, bonuses, and other types of gratuities in exchange for

obtaining student enrollments. In that case, the Hotline Committee recommended termination.

                       b.      ADAs' Enrolling Unqualified Students

       The Demand Letters also allege that ADAs enroll unqualified students in order to meet

student enrollment quotas. The investigation revealed that this allegation is without merit.

While ADAs recruit students, they have no role in setting admissions requirements or

determining whether a student meets those requirements or should be enrolled. All admissions

decisions are made by a separate department or committee, such as a school's Registrar. This is

why interviewees described this allegation as "weird," "impossible," "absurd," the "furthest

thing from the truth," and "nonsense." As one interviewee explained, EDMC does not just

accept everybody and instead looks for indicators that students will be successful.




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                           c.       ADAs' Encouraging Prospective Students To Accept
                                    Unwanted Financial Aid Packages

         The Demand Letters also allege that AD As encouraged prospective students to accept

unwanted financial aid packages or switch from full time to part time in order to have tuition

covered by financial aid. The investigation found no support for this allegation. Financial aid

determinations are not made by ADAs; rather, a financial aid counselor works with prospective

students to determine the amount of financial aid for which a prospective student will qualify.

EDMC considers it a compliance violation for ADAs to be involved in financial aid

determinations or talk with students about financial aid possibilities. 46

         C.       FINDINGS ON THE LETTER OF CREDIT CLAIM

         As noted above, the Litigation Committee found no support for the allegations that: (i)

EDMC's "failing financial health cause[d) an increase in letters of credit that must be posted," or

(ii) EDMC's failure to meet the composite score of financial health was the reason that EDMC

entered into a new letter of credit facility with Bank of America.

         The letter of credit requirement was instituted in 2006 as part ofEDMC's going private

transaction. As a matter of Generally Accepted Accounting Principles, the EDMC going-private

transaction resulted in subsequent goodwill being recorded on the Company's financial

statements. EDMC and the DOE understood that, given the recording of such a substantial

amount of goodwill on its balance sheet, EDMC would not achieve the composite score on the

financial responsibility test. EDMC consistently disclosed this fact in its public filings with the

SEC. As a result, the DOE required a letter of credit from EDMC in the amount of 10 percent of

the prior fiscal year's Title IV revenue (subsequently raised to 15 percent). The DOE may set


46
     The Demand Letter also alleges that AD As encourage prospective students to cover their full tuition with
     financial aid by switching from full time to part time enrollment. The Litigation Committee found no basis for
     wrongdoing based on interviews with managers.



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the level of the required letter of credit anywhere between 10 percent and 100 percent at their

discretion. EDMC believes that the DOE set the amount of the letter of credit at 15 percent to

account for annual increases in total Title IV funds received by students attending EDMC's

institutions. In other words, the increase in the size of the letter of credit assumes that Title IV

funds received by students attending EDMC's institutions would increase by 5 percent per fiscal

year because the percentage is applied to Title IV funds received in the prior fiscal year.

Accordingly, the amount of the letter of credit has increased each year primarily because of the

increase in Title IV revenues. Thus, it is the growth in EDMC's net revenues that caused the

letter of credit amount to be increased. Since the letter of credit amount required to be posted is

based upon the prior fiscal year's Title IV revenue, the $361.5 million letter of credit that is

cuiTently in place with the DOE was calculated using fiscal year 2010's Title IV revenues. The

letter of credit amount was set before the fiscal year 2011 financial results were known.

        EDMC's decision to enter into a new letter of credit facility with Bank of America was

not the result of a failure ofEDMC to meet the composite score offinancial health. EDMC

issues the letter of credit to the DOE from its revolving credit facility. This facility had a

maturity date of June 1, 2012. As a proactive measure to ensure letter of credit capacity beyond

this date, EDMC amended the facility in December 2010 to extend the maturity to June 1, 2015.

Approximately 74 percent ofthe holders elected to extend the maturity, totaling $328.3 million.

Since $114.2 million will expire on June 1, 2012, EDMC put in place the $150 million cash-

secured letter of credit line as a replacement. This facility was put in place because of the

maturity of the existing facility, not because of increases in the required letter of credit.

        D.      FINDINGS ON THE FRAUDULENT JOB PLACEMENT CLAIM

        The Demand Letters' allegations concerning the Fraudulent Job Placement Claim appear

to have been taken directly from Kathleen Bittel (a former Career Services Advisor at OHE) and


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her correspondence with and testimony before the U.S. Senate Committee on Health, Education,

Labor, & Pensions. Ms. Bittel alleged that EDMC manipulated job placement statistics in order

to recruit a higher number of students, that Career Services Advisors were encouraged to falsify

forms to inflate the salaries of graduates, and that graduates were encouraged to incorrectly

report that they were using skills related to their coursework. Ms. Bittel also alleged that

supervisors ignored her concerns. As described below, the Litigation Committee found effective

internal controls in place to prevent the type of conduct alleged by Ms. Bittel. The Committee

also did not find that the allegations made by Ms. Bittel were supported by reliable collaborative

evidence.

       The Litigation Committee's investigation confirmed that EDMC takes seriously its

responsibility to assist its graduates in finding productive and rewarding work in their chosen

field following graduation. EDMC employs more than 300 people who help graduates find jobs

and who are responsible for ensuring that the Company accurately and fairly reports its job

placement statistics. EDMC has long utilized a process designed to ensure the accurate

collection and reporting of graduate employment statistics. This process serves as a series of

checks and balances to safeguard against an employee's ability to report inaccurate data and

includes the following steps:

                       (i)      placement documentation is obtained by a Career Services Advisor

               directly from an employer or a graduate whenever possible;

                       (ii)     a department supervisor is responsible for checking the accuracy of

               all information entered by Career Services;

                       (iii)    Career Services Advisors confirm that verifications are

               documented;




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                       (iv)    unusual salary fluctuations and certain waivers from placement are

               independently reviewed by EDMC's corporate staff; and

                       (v)     ED M C' s corporate staff performs a separate review of all data

               prior to records being finalized, including a review of whether the employment

               listed for each graduate is related to his or her field of study.

       EDMC has multiple layers of controls designed to prevent inaccurate reporting of

employment statistics. EDMC's standard training curriculum ensures that Career Services

Advisors accurately report employment data. That training specifically warns about potential

risk exposures, such as counting one job as two when the latter is just an update; accepting

employment with no documentation that it was verified; and overestimating salaries in the cases

where graduates or employers will not release exact information. Career Services Advisors are

taught to note suspicious reporting data and contact managers for guidance. EDMC has written

policies that require all errors or suspicious data be emailed to the Career Services Advisor and

Director of Career Services at the affected school and that further investigation be conducted

until the anomaly is corrected or explained. Moreover, students themselves are also encouraged

to provide accurate information to Career Services for its records. Compliance procedures also

verify accuracy of statistics. Career Services Advisors must obtain placement documentation to

verify the statistics they use, and department supervisors check the accuracy of all information

submitted by advisors and confirm that verifications are documented. Data are further audited

by EDMC's Internal Audit Department. During a standard school audit, auditors randomly

select career services files and verify employment and salary data.

       Upon learning of the allegations regarding job placement statistics made by Ms. Bittel,

EDMC conducted an internal investigation and sought the cooperation of Ms. Bittel (we




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understand that she refused to provide specific information about her allegations). The

investigation found no support for her claims of undue pressure placed upon Career Services

Advisors at OHE to meet placement goals or falsely verify graduates' employment was related to

their field of study. Thereafter, EDMC retained outside counsel to conduct a second

investigation, which included document review and interviews of more than 20 employees,

including all ofMs. Bittel's fellow Career Services Advisors and supervisors at OHE. That

investigation similarly found no support for the claims that EDMC had pressured employees to

violate placement policies and procedures and found no confirmed instances in which the

examples the Demand Letters cite from Ms. Bittel actually ended up in EDMC's publicly

reported job placement data.

VI.    CONCLUSION

        For the reasons summarized above, the Litigation Committee, after an extensive and

diligent inquiry, has determined in good faith and in the exercise of its business judgment that it

would not be in the best interest of the Company or its shareholders to take the actions requested

with respect to the allegations in the Demand Letters. Further, the Litigation Committee bas

concluded that EDMC has appropriate internal controls, and supporting policies and procedures,

to address the specific risks identified in the Demand Letters.

                                               BY THE LITIGATION COMMITTEE OF THE
                                               BOARD OF DIRECTORS OF EDUCATION
                                               MANAGEMENT CORPORATION


                                               ~--
                                               Leo F. Mullin




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                                             Direct Dial: 646-722-8505
                                           Email: jciscnhofer@gelaw.com

                                                August 19, 2011




VIA OPS OVF;RNIGHT MAIL

Board of Directors
c/o J. Devitt Kramer, Senior Vice President, General Counsel and Secretary
Education Management Corporation
210 Sixth Avenue
33rd Floor
Pittsburgh, PA J 5222

        Rc:      Shareholder Demand For Board Action

Dear Members of the Board:

        This finn represents the Oklahoma Law Enforcement Retirement System (the
''Stockholder"). holder of 25,800 shares or common stock of Education Management
Corporation ("EDMC'' or the ''Company"). l write on behalf of the Stockholder to demand that
the Company· s Board of Directors (the '·Board") take action to remedy the harm to EDMC as a
result of the \vrongfui conduct described below.

        On August 8. 2011, The U.S. Department of Justice (''DOJ") brought a complaint against
EDMC for violations of the False Claims Act, 31 U.S.C. § 3729-33. S'ee United Stales <~(
America v. Education 1vfanagement Corp., 2:07-cv-461-fRM (W.O. Pa.). The DOJ Complaint,
\vhich was tiled in intervention in a qui tam action brought by LynnToya Washington, a former
employee of EDMC, and Michael T. Mahoney, another former EDMC employee, alleges, inter
alia, that EDMC's compensation practices violate Title IV of the Higher Education Act of
1965's (''HEA'') ban on incentive-based compensation. 1 The DOJ seeks to recover treble
damages, civil penalties and costs pursuant to the false Claims Act, 31 U.S.C. §§ 3729-33. In

1
 The qui tam litigation was originally brought by the relators in 2007. Under the provisions ofthe False
C'laims Act. that action was scaled until such time as the government determined whether or not to
intervene in the action. The government's decision was publicly disclosed on August 8, 2011 with the
filing of its complaint in intervention.




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addition, the DOJ is joined by the Attorneys Generai of California, Florida, Indiana and Illinois,
who each seck to recover treble damages, fines, costs and other monetary relief under their
respective states' false claims laws. These complaints are collectively referred to herein as the
Government/Qui Tam Actions.

        The HEA prohibits post .. secondary educational institutions who receive funding or whose
enrolled students receive funding under the HEA from paying compensation to their employees
tied in any way to procuring new student enrollments. Speci11catly, Section l 094 of the HEA
prohibits schools receiving federal grants or federally guaranteed loans from ''provid!ing] any
commission, bonus. or other incentive payment based directly or indirectly on success in
securing enrollments or financial aid to any persons or entities engaged in any student recruiting
or admission activities or in making decisions regarding the award of financial assistance ... .''
20 TJ.S.C. § 1094(a)(20). fnstitutions receiving funds under the HEA must sign a program
participation agreement ("PPA") stating that they will comply with all applicable statutes and
regulations promulgated thereunder. The institutions must also conduct an independent audit
each year and submit the results to the Department of Education ("DOE") confirming
compliance with such statutes and regulations each year. Since 2002, EDMC has signed PPAs
and provided documentation to the DOE indicating that it has complied with all applicable HEA
rules and regulations. During that same time frame, EDMC or its enrolled students have
received over $11 billion in grants and federally-backed loans from the federal government.

         EDMC's PPA statements falsely certified EDMC's compliance with the HEA. Since at
least July I, 2003 to the present, EDMC has violated Section 1094 of the HEA by compensating
its Assistant Directors of Admissions ("ADA") and their supervisors based upon the number of
new students they are responsible for enrolling in EDMC institutions. At EDMC institutions, the
AD As arc responsible for recruiting applicants for admission, achieving enrollment and start rate
goals and securing and managing new student enrollment activities. The ADAs' compensation
system is set fmih in the Admissions Performance Plan~ which states that compensation tor
AD As will be based upon a manager's evaluation of an ADA's performance "combined with the
number and types of new students you recruited over the past 12 months ..... The number of
nev·i students you recruited over the previous 12 months is converted into points, and the point
total determines the salary range." The Admission Pert<.1rmance Plan also includes a salary chart
which sets forth the number of ·'new student points" required to achieve a particular salary level.
Once an ADA has been employed for a year, his or her compensation is based solely on the
salary chart, i.e., on new student enrollments.

       Tn addition, ADAs are given commissions, bonuses and awards based solely on obtaining
new student enrollments. For example, the top I 0% of AD As, based upon new student
enrollments, arc given all-expenses-paid vacations to places such as Cancun, Mexico or Las




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Vegas. Other high-perfonning ADAs, as measured solely by new student enrollment are given
gifts. such as tickets to Major League Baseball games and amusement parks. gift certificates and
free lunches.

         EDMC's compensation system for ADAs is not a harmless violation of the HEA. ADAs
are encouraged to enroll students without thoroughly reviewing their academic transcripts and
admissions materials in order to determine whether they are qualified to attend the particular
institution or online program. As a result, students have enrolled in EDMC programs who are
academically unqualified, including some who cannot write coherently, or who appear to be
under the inHucnce of drugs, or who enroll in online programs without owning a computer.
Although applicants must submit a high school transcript and complete a 150-word essay, all
student applications are approved regardless of high school grade point average or the quality of
the written essay.

         The end goal of this system is to qualify the recruited students for financial ajd packages
!rom the federal government and state governments. ADAs work with the recruited students
during the financial aid application process to help them complete their forms. At that point,
EDMC Financial Aid Ofticers ("FAO") calculate a financial aid package based on a DOE
formula and inform the student of the award, which the student can accept or reject. If a student
initially wishes to reject the package, it is the ADA's job to convince the student to accept the
package. The ADAs are also instructed to make sure the package will cover the student's entire
tuition, even if that means the student will have to change his or her status from full-time to part-
time. Once a student accepts a package, the FAO certifies the student's loans and grants which
are then submitted to the DOE.

        EDMC continually measures the ADA's performance against new student enrollment
quotas established for each ADA ("Student Start Plan"). The Student Start Plans are provided to
the ADA's supervisor by higher level corporate employees. The ADAs arc also given a "plan to
make plan,'' which sets forth recruitment strategies to gain the desired number of new student
enrollees. EDMC closely tracks and maintains the data regarding the actual number of student
enrollments each ADA obtains and measures that against the quotas established in the Student
Start Plans. So called "underachievers" are admonished to meet their quotas, and ADAs are
regularly terminated for failure to meet their quotas.

        The pervasiveness  or tying of ADA compensation to student enrollment is demonstrated
by the allegations of Mr. Mahoney, one or the relators in the Government/Qui Tam Actions. Mr.
Mahoney was the Director oC Training for EDMC's online division. \Vhcn he initially
interviewed for the position ;,.vith the Vice President of Admissions for EDMC's Online Higher
Education division, he was told that EDMC's enrollment goals were to increase the number of




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Board of Directors
c/o .T. Devitt Kramer, Senior Vice President, General Counsel and Secretary
Education Management Corporation
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students more than ten-fold in five years; to nearly double the average number of new students
each ADA enrolled per week and to double the amount of ADAs within two years. Furthermore,
he was informed that EDMC would tire ADAs who did not meet their new student enrollment
quotas. Mr. Mahoney was then charged with designing a training program to recruit new
students based upon his extensive sales experience in the automotive industry, employing
techniques to "close the sale." Mr. Mahoney was never made aware of Section 1094's ban on
incentive-based compensation, and thus none of the training materials he designed made
reference to it.

       The conduct described above pervaded the entire EDMC systern and was knov-/n to
members of higher management. Particular members of higher management were well av.,rare of
the HEA 's ban on tying compensation to student recruitment, as they had previously been
employed in the University of Phoenix system when it was forced to pay $9.8 million to the
DOE for its improper recruiting and compensation practice. Todd S. Nelson, Chief Executive
Officer of EDMC since February 2007, was formerly the CEO and Chainnan of the Board of
Directors of Apollo Group~ Inc., which owned the University of Phoenix. In addition to Mr.
Nelson, several termer University of Phoenix employees were subsequently employed by
EDMC, including current executives Robert Carroll (Executive Vice President and Chief
Information Officer), Anthony F. Digiovanni (Senior Vice President         Marketing and
Admission) and John Kline (President. EDMC Online :Higher Education).

        As a result of this wrongful conduct EDMC is subject to enormous fines and other
penalties tor its false statements to the federal govemment which allowed it to obtain $1 1 billion
in Title TV funding. EDMC also faces substantial liability for making sirnilar false statements to
the governments of California, Florida, Indiana and Illinois. The Attorney General of California
alleges that EDMC received over $93 million in funding from 1999-2010 and seeks an
unspecified amount in damages, including treble damages. The Attorney General of Florida
alleges that EDMC received over $5 million in 2006, 2007, 2009 and 2010, and seeks treble
damages and up to $11,000 in civil penalties per false claim submitted. The Attorney General of
Indiana alleges that EDMC received over $12 million in funding from 2003 to the present and
seeks trebie damages and at least $5,000 in fines and penalties ibr each false claim submitted.
Finalty, the Attorney General of Illinois alleges that EDMC received over $27 million in funding
from 2004-2011 and seeks treble damages and a fine of $11,000 per false claim submitted.

       The Company has valuable claims against its officers and directors who committed or
negligently disregarded the conduct described herein.    Your tiduciary duties as directors of
EDMC require you to investigate and prosecute potential claims for recoupment of any damages
suffered by the Company as a result of these violations. Failing or refusing to cause the
Company to exercise its rights to seek recoupment of any fines or penalties that may be paid to




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Board of Directors
c/o J. Devitt Kramer, Senior Vice President, General Counsel and Secretary
Education Management Corporation
August 19,2011
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the federal or state governments would be tlat]y inconsistent with your fiduciary duties and may
expose you to liability. Accordingly, the Stockholder demands that the Board:

       (i)        commence a civil action against senior executives to recover for the benefit of
                  the Company all damages that tlow to the Company as a result of the
                  Government/Qui Tam Actions, including any fines or penalties that it may be
                  required to pay, all costs of defending the Company, and all costs of
                  rcmcdiating the vvrongful behavior;

       (ii)       immediately overhaul the Company's admissions and reermtmg personnel
                  compensation structure such that no portion of compensation earned by ADAs
                    including any bonuses or other awards      is based on the number of new
                  student enrollments that ADA achieves;

       (iij)      immediately adopt and establish policies and procedures that eliminate
                  improper new student recruitment tactics, inc! uding, but not limited to,
                  aggressive techniques designed to encourage unqualified students to enroll in
                  EDMC programs and to seek and obtain government funding to pay for such
                  education: and

       (iv)       immediately establish internal controls sufficient to ensure that if such
                  wrongful compensation and recruiting practices occur at the Company in the
                  future, those practices \Viii be brought promptly to the attention of the Board of
                  Directors so that they can be eliminated before they cause the Company any
                  legal liabilities.

       The Stockholder reserves its right to commence a derivative action on behalf of the
Company seeking appropriate relief if the Board has not commenced an action and taken the
other measures as demanded herein within 120 clays of receipt of this letter.


                                             Very truly yours,




JWE/rm




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                                                                                Goodwin Procter LLP
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                                                                                F: 617.523.1231




December 8, 2011


VIA E-MAIL & VIA FIRST CLASS MAIL

Jay W. Eisenhofer, Esq.
Grant & Eisenhofer P .A.
485 Lexington Avenue
NewYork,NY 10017


Re:    Shareholder Demand of the Oklahoma Law Enforcement
       Retirement System to Education Management Corporation

Dear Mr. Eisenhofer:

I write in response to your letter to the Board of Directors of Education Management
Corporation ("EDMC"), dated August 19, 2011. Goodwin Procter LLP represents a committee
of disinterested directors ofEDMC (the "Litigation Committee") and is assisting the Litigation
Committee with its investigation of the matters identified in your letter.

The investigation is ongoing and the Litigation Committee will report its results when the
investigation is concluded. In the meantime, we ask that you provide us with any further
information or support that you have for the allegations set forth in your August 19, 2011 letter
or any other facts or information that you would like the Litigation Committee to consider as part
of its investigation.

In addition, we ask that you provide proof that your client, the Oklahoma Law Enforcement
Retirement System, has owned shares ofEDMC continuously from July I, 2003 to the present.

Please contact me if you have any questions.


Sincerely,

      (cdi(~
R. Todd Cronan

cc:    Devitt Kramer, Esq.




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                                                   485 Lexington Avenue
                                                     New York, NY 10017
                                           Tel: 646·722·8500 • Fax: 646-722-8501
                                                      www.gelaw.com

                                              Writer's Direct Dial: (646) 722-8505


                                                    December 15, 2011



           VIA EMAIL AND FIRST CLASS MAIL

           R. Todd Cronan, Esquire
           Goodwin Proctor LLP
           Exchange Place
           Boston, MA 021 09


                    Re:       Shareholder Demand For Board Action

           Dear MI·. Cronan:

                  I write to respond to your December 8, 2011 letter regarding the shareholder demand of
           the Oklahoma Law Enforcement Retirement System ("OLERS"), a holder of common stock of
           Education Management Corporation ("EDMC" or the "Company"), on the EDMC Board of
           Directors ("Board"). While I was a bit surprised by the length of time it has taken you to
           communicate with us about a demand made more than three months ago, I an1 pleased that you
           have invited us to participate in the investigation of the issues raised in OLERS' demand letter.

                    You have stated that the Board formed a Litigation Committee "of disinterested
           directors'' of the Company to investigate the issues raised in OLERS' demand. As a preliminary
           matter, we would appreciate learning from you who the Committee members are and receiving a
           copy of the resolution creating the Committee and defining its authority. You also invited
           OLERS to provide you with information relating to the issues raised in the demand letter. We
           are happy to do so, and suggest that our participation not be a one way street. We have studied
           these issues for several months, and have a wealth of experience in dealing with such governance
           issues. We can be an invaluable resource to your investigation and urge you to consider sharing
           information with us so that we can better assist your investigative efforts.




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R. Todd Cronan
December 15,2011
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        You have also requested that we provide documentation of OLERS' ownership ofEDMC
stock since 2003. As derivative standing is not a requirement for making a demand, how long
0 LERS has held its EDMC shares is irrelevant to the investigation of OLERS' demand. If you
were requesting that information for a reason other than testing OLERS' derivative standing,
please provide an explanation of your reason(s) and we will be happy to reconsider the request.


                                            Very truly yours,
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                                            Jay   w~~sen~er
JWE/dm




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                                                     www.gelaw.com
         Jay W. Elsenhofer
        Managing Director
        Tel: 646-722·8505
     jeisenhofer@gelaw.com                           January 19, 2012



           VIA EMAIL AND OVERNIGHT MAIL

           R. Todd Cronan, Esquire
           Goodwin Proctor LLP
           Exchange Place
           Boston, MA 021 09

                    Re:        Shareholder Demand For Board Action

           Dear Mr. Cronan:

                   This firm represents the Oklahoma Law Enforcement Retirement System ("OLERS"), a
           holder of common stock of Education Management Corporation ("EDMC" or the ''Company"),
           in connection with the demand ("Demand") OLERS made on the EDMC Board of Directors
           ("Board"), dated August 19, 2011. In your December 8, 2011 letter the first communication
           we received that even acknowledged the Demand- you stated that the Board had formed a
           Litigation Committee "of disinterested directors" of the Company to investigate the issues raised
           in OLERS' demand. You also stated that the Litigation Committee was inviting OLERS to
           participate in the Committee's investigation by providing the Committee with information. On
           December 15, 2011, I wrote to you to accept your invitation to work with the Committee and to
           offer Ollr assistance in the investigation. More than a month later (and five months after the
           Demand was made), I have not heard anything fi.uiher from you.

                  I write today to both reiterate our willingness to work with the Committee, and to
           supplement the original Demand with additional allegations of wrongdoing that have recently
           come to our attention. The supplemental Demand issues are:

           (1)      Failing Financial Health Causes An Increase In Letters Of Credit That Must Be Posted

                   In EDMC's fiscal year 2011, EDMC failed to achieve the minimum level of composite
           score based on three ratios the U.S. Department of Education uses to measure the financial health
           of institutions that receive Title IV funds. As a result, the Department of Education required
           EDMC to raise the amount of its letter of credit that it posted in order to receive Title IV funds
           from $259.8 million (or 10% of funds received) to $361.5 million (or 15% of funds received).



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R. Todd Cronan
January 19, 2012
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This failure to meet the composite score of financial health, and the resulting increase in required
letters of credit, forced the Company to enter into a new $150 million Letter of Credit Facility
with Bank of Ame1ica.

        While management was able to cover this situation this year with a new credit facility,
the shareholders may not be so lucky in future years. EDMC's overall financial well-being
continues to be endangered by the illegal practices detailed in the original Demand letter and the
exorbitant debt that remains outstanding after the $3.4 billion leveraged buy-out of the Company
in 2006. EDMC runs a substantial risk that the Department of Education will require it to post
letters of credit in even higher amounts. The Department has the authority to raise the
requirement to 100% of Title IV funds the Company receives. If action is not taken swiftly to
correct the problems we have detailed in the Demand and this supplemental demand, the
regulatory requirements the problems engender will soon overwhelm the Company and will
result in even greater losses.

(2)    Fraudulent Practices Endangering Accreditation Of Company Institutions

         Through a U.S. Senate investigation of for-profit universities, it was revealed that EDMC
systematically falsifies job placement data for its graduates in order to maintain accreditation for
its institutions. Accreditation agencies require certain levels of placement of graduates in their
chosen fields in order to receive or maintain accreditation. Apparently unable to meet those
levels honestly, EDMC has taken to falsifying its job placement data. Graduates are routinely
cajoled into signing employment verification fom1s stating that they are working in their chosen
fields or are otherwise using the skills they learned at Company institutions when, in reality, they
are not. An example given by a career placement counselor employed at EDMC's Argosy
University is that a graduate of the residential planning program was deemed to have been placed
in a job in her field while she was working as a cashier at a gas station, because arrangement of
candy bars for sale supposedly utilized her program skills. A graduate of the art program was
deemed to be worldng in the art field     as   a coUrih£·pefsori aCStarbucks because the graduate
helped write daily specials signs. A graduate earning $8000 per year was documented as earning
$25,000 per year because $25,000 was the average salary in the area for that type of position.

        The abuses in job placement statistics at EDMC are not the work of rogue counselors.
These employees are repeatedly told by supervisors that they have quotas of job placement to
meet or they will be fired. The manipulations of data, such as those noted above, are clearly
tolerated and even encouraged at EDMC. A counselor reported these abuses to her superiors,
only to find nothing was done about them. It is time for the Committee to investigate these
practices and bring them to an end before they cause further ham1 to the Company.




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R. Todd Cronan
January 19, 2012
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        As I stated above and in my December 15, 2011 letter, we stand ready to assist the
Committee in its investigation of the matters raised in the original Demand and those issues
highlighted in this supplemental demand. If the Committee continues to move at a glacial pace
with its investigation and continues to ignore OLERS' commitment to assist it, OLERS will
address the wrongdoing it has brought to the Committee's attention in this demand and the
original Demand in another manner. We hope that you and the Committee will see fit to involve
us in the investigation immediately. If we have not heard from you by February 20, 2012 that
the Committee would like to work with us, OLERS will pursue the matter outside of the
Company.


                                           Verx truly yours,
                                          ,~£:})~,~~[{( /'~,:~,~,..-'
                                           JayW. Eisenhofer

JWE/dm




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February 17, 2012



VIA E-MAIL

Jay W. Eisenhofer, Esq.
Grant & Eisenhofer, P .A.
485 Lexington A venue
New York, NY I 001 7


Re:    Shareholder Demand of Oklahoma Law Enforcement Retirement
       System to Education Management Corporation

Dear Mr. Eisenhofer:

       I write on behalf of the committee of disinterested directors of Education Management
Corporation in response to your letters. We are in the process of preparing a response that will
cover some of the issues addressed in your letters. We expect to get that to you by the end of
next week. Should that timetable change, we will let you know.




Stuart M. Glass

cc: R. Todd Cronan




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   March 6, 2012


   VIA E-MAIL & FIRST CLASS MAIL

   Jay W. Eisenhofer, Esq.
   Grant & Eisenhofer, P.A.
   485 Lexington A venue
   New York, NY


   Re:      Shareholder Demand of Oklahoma Law Enforcement Retirement System

   Dear Mr. Eisenhofer:

   I am writing on behalf of a committee of disinterested directors of the Board of Directors

   of Education Management Corporation (the "Litigation Committee"). The Litigation

   Committee is conducting an investigation in response to certain demand letters sent by

   you, as counsel to the Oklahoma Enforcement Retirement System, a shareholder in

   Education Management Corporation ("EDMC" or the "Company"), dated August 19,

   2011 and January 19, 2012 (collectively, the "Demand Letters"). This letter summarizes

   the investigation and conclusions reached to date by the Litigation Committee with

   respect to certain ofthe claims asserted in the Demand Letters.


   OVERVIEW AND SUMMARY OF FINDINGS


   Your August 19, 2011 Letter generally tracks the allegations contained in the complaint

   filed in United States ofAmerica, et al., v. Education Management Corporation., eta!.,

   2:07-cv-0461-TFM (W.D. Pa.). You principally allege that EDMC's compensation



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GOODWIN            PROCTER
   Jay W. Eisenhofer, Esq.
   March 6, 2012
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   practices violate Title IV of the Higher Education Act of 1965's ban on incentive

   compensation (the "Title IV Claims") with respect to the compensation of Assistant

   Directors of Admissions (the "AD As"). You allege, for example, that AD As engaged in

   unethical practices, such as enrolling unqualified students or pressuring prospective

   students to accept unwanted financial aid packages, in pursuit of compensation based

   solely on student enrollments. You demand that, among other things, the Company

   establish sufficient internal controls surrounding compensation practices to identify and

   prevent such allegedly unlawful activity.


   Your January 19,2012 Letter raises two issues not addressed in your prior Jetter. First,

   you allege that EDMC's supposed failing financial health caused an increase in letters of

   credit that it posted as required by the Department of Education ("Letter of Credit

   Claim"). Second, you allege that a U.S. Senate investigation ("Senate Inquiry") of for-

   profit universities revealed that EDMC "systematically falsified job placement data for its

   graduates in order to maintain accreditation for its institutions" ("Fraudulent Job

   Placement Claim"). Your allegations regarding the Fraudulent Job Placement Claim

   appear to be taken directly from statements made by Kathleen Bittel, a former Career

   Services Advisor at EDMC, during hearings held in the fall of2011 before the Senate

   Committee on Health, Education, Labor and Pensions (the "HELP Committee").


   The Title IV Claims are the subject of ongoing review by the Litigation Committee. To

   date, we have conducted an extensive review of the internal controls environment at



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   Jay W. Eisenhofer, Esq.
   March 6, 2012
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   EDMC, including the internal controls that apply to activities by ADAs and other

   employees in the Admissions, Career Services, and Financial Aid areas, and we are in a

   position to provide you with a summary of the Committee's findings thus far. We also

   are able to provide you with the findings of the Litigation Committee with respect to the

   Letter of Credit Claim and the Fraudulent Job Placement Claim.


   As discussed below, the Litigation Committee has determined that the Company has a

   robust set of internal controls that are properly designed to identify, deter and remediate

   the types of allegedly deceptive and questionable practices referred to in the Demand

   Letters. These internal controls are supported by a properly designed and staffed

   corporate governance structure. The Litigation Committee has concluded that there has

   been no breach of the fiduciary duty owed by the officers or directors of EDMC in

   connection with their oversight of the internal control and corporate governance systems

   in place at EDMC.


   With respect to the Letter of Credit Claim, the Litigation Committee found no support for

   the allegations that: (i) EDMC's "failing financial health cause[ d) an increase in letters

   of credit that must be posted," or (ii) EDMC's failure to meet the composite score of

   financial health was the reason that EDMC entered into a new letter of credit facility with

   Bank of America. The Committee also found no evidence that the Company's board of

   directors or senior management failed to properly discharge their fiduciary duties in

   connection with the approval or oversight of the Letter of Credit.



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   Jay W. Eisenhofer, Esq.
   March 6, 2012
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   As discussed below, the amount ofEDMC's letter of credit has increased each year

   primarily because of the increase in Title IV revenues; thus, it is the growth in EDMC's

   net revenues that have caused the letter of credit amount to be increased. EDMC issued

   the letter of credit to the U.S. Department of Education (the "DOE") from the Company's

   revolving credit facility. This facility had a maturity date of June 1, 2012. As a proactive

   measure, and to ensure credit capacity beyond this original maturity date, EDMC

   amended the facility in December 2010 to extend the maturity to June 1, 2015.

   Approximately 74% of the holders elected to extend the maturity, totaling $328.3 million.

   Since $114.2 million will expire on June 1, 2012, EDMC put in place the $150 million

   cash secured letter of credit as a replacement. This facility was put in place because of

   the maturity of the existing facility, not because of increases in the required letter of

   credit. Thus, sound business reasons exist for the actions taken by EDMC with respect to

   the Letter of Credit.


   With respect to the Fraudulent Job Placement Claim, EDMC has multiple layers of

   controls designed to prevent inaccurate reporting of employment statistics. Our

   investigation found that these internal controls were properly designed and applied to

   address the risk that false or inaccurate job placement data was provided to students. We

   also found no confirmed instances in which the examples you cited actually ended up in

   EDMC's publicly reported job placement data. Thus, we find no supp011 for your claim

   that EDMC "systematically falsified job placement data." That is simply not true.




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   Jay W. Eisenhofer, Esq.
   March 6, 2012
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   BACKGROUND


   EDMC, one of the largest providers of private post-secondary education in Nmih

   America, was part of a broad investigation by the United States Government

   Accountability Office ("GAO") (report dated August 4, 2010, ("GAO Report")) in which

   the GAO sent undercover representatives to meet with admissions and financial aid

   representatives at fifteen for-profit colleges. We understand that only one ofEDMC's

   104 schools- Argosy University in Chicago, Illinois ("Argosy University- Chicago")-

   was part ofthe GAO investigation. Significantly, no allegation or claim was made that

   any of EDMC's 104 schools engaged in the type of improper conduct identified by you in

   the Demand Letters. In particular, no allegation is made in the GAO Report that any of

   the EDMC schools engaged in misconduct with respect to letters of credit or job

   placement practices.


   On November 30,2010, the GAO released a revised report that made substantial

   revisions to its initial findings. With respect to Argosy University- Chicago, the revised

   GAO report removed an allegation regarding the repmiing of professors' experience, in

   its entirety, diluted the GAO's findings related to an allegation regarding program costs,

   and left the good practice attributed to EDMC unchanged. Once again, no allegations or

   findings are contained in the revised GAO Report with respect to the issues raised in your

   Demand Letters - including no allegations or findings regarding the Letter of Credit

   Claim or the Fraudulent Job Placement Claim.



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   THE LITIGATION COMMITTEE



   In response to the issues raised by the Senate Inquiry and GAO Report, the Board of

   Directors of EDMC established the Litigation Committee pursuant to Section 1731 of the

   Pennsylvania Associations Code, Title 15 Pa. C.S., including Subpart B known as the

   Business Corporation Law of 1988 and Section 3.1 of the Company's Amended and

   Restated Bylaws. The Board delegated to the Litigation Committee the power and

   authority to: review, analyze, and investigate any allegations of misconduct or breach of

   fiduciary duty at EDMC; engage legal counsel and other experts to conduct the

   investigation; and determine the appropriate actions, if any, the Company should pursue

   in response to related inquiries or demands from shareholders.


   Leo Mullin and Paul Salem were appointed by the Board to serve on the Litigation

   Committee. Messrs. Mullin and Salem are disinterested directors under Pennsylvania

   law and may therefore discharge the duties delegated to the Litigation Committee by the

   Board. The ALI Principles of Corporate Governance define "disinterested" in terms of

   what it means to be "interested." Section 1.23 (c) of the ALI Princi pies provides that a

   director is interested if any of the following four tests are met:


           (1)     The director or officer, or an associate of the director or officer, is a party
                   to the transaction or conduct;

           (2)     The director or officer has a business, financial, or familial relationship
                   with a party to the transaction or conduct, and that relationship would
                   reasonably be expected to affect the director's or officer's judgment with



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                    respect to the transaction or conduct in a manner adverse to the
                    corporation;

            (3)     The director or officer, an associate of the director or officer, or a person
                    with whom the director or officer has a business, financial, or familial
                    relationship, has a material pecuniary interest in the transaction or conduct
                    (other than usual and customary directors' fees and benefits) and that
                    interest and (if present) that relationship would reasonably be expected to
                    affect the director's or officer's judgment in a manner adverse to the
                    corporation; or

            (4)     The director or office is subject to a controlling influence by a party to the
                    transaction or conduct or a person who has a material pecuniary interest in
                    the transaction or conduct, and that controlling influence could reasonably
                    be expected to affect the director's or officer's judgment with respect to
                    the transaction or conduct in a manner adverse to the corporation.
                    Counsel, public accountants or other persons as to matters which the
                    director reasonably believes to be within the professional or expert
                    competence of such person.

   Based upon these factors, under the ALI Principles, "[a] person who neither is an

   associate of, nor has a pecuniary interest in, or business or financial relationship to, a

   party to the transaction or conduct will normally not be interested within the meaning of

   § 1.23." Messrs. Mullin and Salem do not have a pecuniary interest in, a business or

   financial relationship with, or are a party to the conduct alleged in the Demand Letters,

   and fully satisfy the requirements of a "disinterested" director under Pennsylvania law

   and the ALI Principles of Corporate Governance.


   SUMMARY OF THE REASONS FOR THE LITIGATION COMMITTEE'S FINDINGS



   An issue that cuts across the claims made in your Demand Letters is whether EDMC has

   an internal control structure that is properly designed to indentify, deter and remediate



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   improper conduct. A follow-on issue, for purposes of this letter, is whether there exists

   evidence to support the specific allegations made with respect to the Letter of Credit

   Claim and the Fraudulent Job Placement Claim in the Demand Letters. These issues are

   addressed below.


               1.    EDMC Maintains an Extensive and Robust Internal Control
                     Structure

   As a threshold matter, the Litigation Committee has determined that EDMC has an

   extensive and robust system of internal controls. These internal controls operate to

   educate and train the Company's employees on significant policies and practices, to

   monitor the performance of departments and individuals, and to take remedial efforts as

   appropriate. The Litigation Committee also found that these internal controls are applied

   diligently and in good faith across the EDMC organization and that these internal

   controls provide appropriate safeguards against the types of wrongdoing identified in the

   Demand Letters.


   High Ethical Standards: EDMC sets high standards of conduct for all employees and

   officers and trains each employee on those standards. These standards are set forth in the

   Company's Code of Conduct ("Code"), which requires full compliance with the highest

   moral, legal, ethical, and financial reporting standards. All employees, regardless of

   position, must certify that they understand the Code. The Code also fosters an

   environment in which the reporting of unethical conduct is encouraged by making




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   evident that EDMC is committed to keeping complaints confidential and stressing that

   the Company will not tolerate any form of retaliation. Indeed, retaliation is in violation

   ofthe Code.


   In addition to the Code, the Company provides employees with an ethics brochure

   entitled, "Help Us Preserve Our Integrity" (the "Integrity Brochure"). The Integrity

   Brochure, which has been distributed to all new employees since 2004, explains the

   negative impact that unethical behavior can have on the Company's reputation and

   financial well being. The brochure outlines a structure for reporting unethical behavior,

   including speaking with a supervisor, local and corporate human resources, or the campus

   president, or by contacting the Company's General Counsel, the Internal Audit

   Department, or the Corporate Compliance Hotline. the brochure emphasizes in large

   type that an employee will not face retaliation for making a repmi and provides multiple

   ways for an employee to report unethical conduct through the Corporate Compliance

   Hotline.


   Education and Training: In accordance with the high ethical standards set by the Code

   and other Company policies, EDMC employees receive extensive training, including on

   topics such as compliance violations that an employer may encounter during his or her

   tenure at the Company. Employees involved in the admissions process- including

   Assistant Directors of Admissions ("ADAs")- receive three weeks of"on-boarding"

   training, five days of "polishing-off' training, as well as continuing guidance throughout



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   their employment on best practices. The AD As must pass multiple tests before

   interacting with prospective students. Even after passing these tests, the ADAs are

   monitored during the "polishing-off' process to ensure compliance with Company

   standards. Additional training is provided by specialists on topics such as common

   compliance violations throughout an employee's tenure at the Company. ADAs recertify

   their knowledge oflegal and ethical compliance requirements annually. These ethics

   training and testing programs focus on preventing the types of unethical conduct

   referenced in the Demand Letters, including conduct regarding financial aid and career

   placement.


   Monitoring and Remediation: The Litigation Committee also reviewed and assessed the

   internal controls at EDMC that exist to detect and remediate the types of behavior

   identified in the Demand Letters. These internal controls include:


       •    The Internal Audit Department ("lAD"), which identifies and remediates

            risks facing EDMC by auditing corporate processes, ground schools, and

            the Online Higher Education Division ("OHE"). These audits allow the

            Company to, among other things, verify compliance with internal policies

            and regulatory requirements, deter fraud by encouraging appropriate

            controls, and identify best practices. All business activities of EDMC are

            subject to auditing, and lAD identifies the frequency of such audits using a

            risk-based approach. At the conclusion of its audits, lAD issues a



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             comprehensive and objective assessment of its findings and

             recommendations.


        •    OHE Internal Audit and Compliance Department, which performs a

             similar function as IAD within OHE, is designed to prevent, mitigate and

             remediate, among other things, student-facing risks by monitoring

             interactions between students and ADAs or Student Financial Services

             representatives in OHE. Poor performing employees receive

             remediation-ranging from verbal coaching and re-training to termination.


        •    Corporate Services ("CS") Marketing and Admissions Department ensures

             that ADAs conduct themselves according to the Company's standards of

             ethical conduct by using, among other things, frequent observations and

             "mystery shopping." Observations track compliance with internal policies

             by allowing directors to listen to phone conversations between ADAs and

             prospective students, while "mystery shopping" employs a third-party

             vendor posing as a prospective student to ask AD As difficult questions

             and assess their responses. Both observation and "mystery shopping

             results" are graded and remediated on a scale similar to that of OHE.


        •    The CS and OHE Marketing and Admissions Departments have policies

             and procedures related to admissions personnel at ground schools and the




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           online brands to ensure compliance with federal regulations and Company

           policy regarding interactions with prospective students. The Compliance

           FAQ Guide and associated multi-week training embodies this commitment

           by ensuring that each ADA understands how to deliver legally and

           factually correct information while interacting with prospective students.

           ADAs must take an exam annually on this infonnation; initial failure

           suspends any student interaction, and successive failures lead to

           termination. AD As also learn and are tested on the techniques of proper

           salesmanship, which require that they build a relationship with the

           prospective student based on trust and honesty as they select the features

           and benefits ofthe school to match the student's needs and values. ADAs

           also attend ongoing training activities related to ethical compliance.


       •   A Corporate Compliance Hotline is accessible twenty-four hours a day,

           seven days a week, as a way to anonymously report suspected misconduct.

           Reports submitted through this hotline are sent to, and investigated by, a

           committee comprised of senior management from the Human Resources,

           Legal, and the Internal Audit Departments. This committee assesses the

           merits of allegations, oversees investigations where appropriate,

           determines whether corrective action is necessary, and follows up on




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            recommendations for remediation. The Audit Committee of the Board of

            Directors is updated quarterly about these reports.


       •    EDMC also has a senior-level position dedicated to the compliance

            function that reports directly to the Company's General Counsel. The

            Vice President of Compliance implements EDMC's compliance program

            designed to emphasize EDMC's values and promote a culture of integrity.

            Among other responsibilities, the Vice President of Compliance develops

            policies and programs that encourage employees to report alleged

            misconduct without fear of retaliation and works with Internal Audit to

            conduct risk assessments and Human Resources on training programs for

            all employees.


       •    The Audit Committee ofthe Board is active and engaged on compliance

            issues. This committee, in accordance with governing law and

            regulations, consists of three independent directors with one member who

            is a certified financial expert. In performing its duties, among other

            things, the Audit Committee regularly reviews and discusses with the

            Company's senior management: (i) quarterly and annual audits completed

            by internal and external auditors, (ii) reports received by the Company's

            hotline, available to employees to submit information regarding unethical

            conduct, (iii) significant lawsuits and investigations, (iv) personnel



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            training and quality assurance, (v) school accreditation, (vi) risks

            associated with proposed or newly enacted post-secondary education

            regulations, and (vii) the integrity of the Company's financial statements.


               2.    EDMC Maintains an Effective System of Corporate Governance
                     Practices and Procedures

   The Litigation Committee also found that the Company maintains a strong corporate

   governance structure and there is no evidence that any director or officer breached his or

   her fiduciary duties to EDMC in connection with the oversight of the Company's internal

   controls.


   Under Pennsylvania law, each director and officer of EDMC owes a duty of care and

   loyalty to the Company. The duty of care, which primarily relates to being properly

   informed and overseeing the management of the corporation, mandates that directors and

   officers act in good faith by acting with the care that a person in a like position would

   reasonably believe appropriate under similar circumstances. When due care is taken, the

   business judgment rule imposes a presumption that decisions made are in the best

   interests of the company to prevent second-guessing of business decisions by courts. The

   duty of loyalty, moreover, requires that directors and officers act only in the interests of

   the corporation, rather than acting intentionally with a purpose other than that of

   advancing the best interests of the corporation. The Litigation Committee investigation

   revealed that the directors and officers of EDMC have satisfied these fiduciary duties to




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   the Company by establishing and maintaining, appropriate governance structures, and the

   Demand Letters contain no facts to the contrary.


   The Board is empowered to make decisions related to, and provide oversight of, EDMC's

   business and affairs. It conforms with the requirements imposed under federal law, as

   well as those imposed by NASDAQ, by maintaining the requisite number of independent

   directors and delegating the appropriate decision-making authority to the Board's

   committees which include an Audit Committee, Compensation Committee, and

   Nominating and Corporate Governance Committee. Notably, in accordance with

   governing laws and regulations, the Audit Committee is comprised solely of independent

   directors, with one certified financial expert, and, among other things, oversees

   compliance with legal and regulatory requirements, ensures the integrity of the

   Company's financial statements, and supervises the external and internal auditors at

   EDMC.


              3.     The Evidence Does Not Support the Specific
                     Allegations With Respect to the Letter of Credit Claim

   As noted above, the Litigation Committee found no support for the allegations that: (i)

   EDMC's "failing financial health cause[d] an increase in letters of credit that must be

   posted," or (ii) EDMC's failure to meet the composite score of financial health was the

   reason that EDMC entered into a new letter of credit facility with Bank of America.




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   The letter of credit requirement was instituted in 2006 as part ofEDMC's going private

   transaction. As a matter of Generally Accepted Accounting Principles ("GAAP"), the

   EDMC going-private transaction resulted in subsequent goodwill being recorded on the

   Company's financial statements. EDMC and the DOE understood that, given the

   recording of such a substantial amount of goodwill on its balance sheet, EDMC would

   not achieve the composite score on the financial responsibility test. EDMC consistently

   disclosed this fact in its public filings with the SEC. As a result, the DOE required a

   letter of credit from EDMC in the amotmt of 10% ofthe prior fiscal year's Title IV

   revenue (subsequently raised to 15%). The DOE may set the level of the required letter

   of credit anywhere between 10% and 100% at their discretion. EDMC believes that the

   DOE set the amount of the letter of credit at 15% to account for annual increases in total

   Title IV funds received by students attending EDMC's institutions. In other words, the

   increase in the size of the letter of credit assumes that Title IV funds received by students

   attending EDMC's institutions would increase by 5% per fiscal year because the

   percentage is applied to Title IV funds received in the prior fiscal year. Accordingly, the

   amount of the letter of credit has increased each year primarily because of the increase in

   Title IV revenues. Thus, it is the growth in EDMC's net revenues that caused the letter

   of credit amount to be increased. Since the letter of credit amount required to be posted

   is based upon the prior fiscal year's Title IV revenue, the $361.5 million letter of credit

   that is currently in place with the DOE was calculated using fiscal year 20 I O's Title IV




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    revenues. The letter of credit amount was set before the fiscal year 2011 financial results

    were known.


    EDMC's decision to enter into a new letter of credit facility with Bank of America was

    not the result of a failure of EDMC to meet the composite score of financial health.

    EDMC issues the letter of credit to the DOE from its revolving credit facility. This

    facility had a maturity date of June 1, 2012. As a proactive measure to ensure letter of

    credit capacity beyond this date, EDMC amended the facility in December 2010 to

    extend the maturity to June 1, 2015. Approximately 74% of the holders elected to extend

    the maturity, totaling $328.3 million. Since $114.2 million will expire on June 1, 2012,

    EDMC put in place the $150 million cash secured letter of credit line as a replacement.

    This facility was put in place because of the maturity of the existing facility, not because

    of increases in the required letter of credit.



              4.      The Evidence Docs Not Support the Allegations with Respect to the
                      Fraudulent Job Placement Claim

   The allegations concerning the Fraudulent Job Placement Claim appear to have been

   taken directly from Kathleen Bittel (a former Career Services Advisor at EDMC Online

    Higher Education) and her correspondence with and testimony before the Senate HELP

    Committee.


   EDMC takes seriously its responsibility to assist its graduates in finding productive and

   rewarding work in their chosen field following graduation. EDMC employs more than


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    300 people who help graduates find jobs and who are responsible for ensuring that the

    Company accurately and fairly report its job placement statistics. EDMC has long

    utilized a process designed to ensure the accurate collection and reporting of graduate

    employment statistics. This process serves as a series of checks and balances to

    safeguard against an employee's ability to report inaccurate data and includes the

    following steps: (i) placement documentation is obtained by a Career Services Advisor

    directly from an employer or a graduate whenever possible; (ii) a department supervisor

    is responsible for checking the accuracy of all information entered by Career Services;

    (iii) Career Services Advisors confirm that verifications are documented; (iv) unusual

    salary fluctuations and certain waivers from placement are independently reviewed by

    EDMC's corporate staff; and (v) EDMC's corporate staff performs a separate review of

    all data prior to records being finalized, including a review of whether the employment

    listed for each graduate is related to his or her field of study.



    EDMC has multiple layers of controls designed to prevent inaccurate reporting of

    employment statistics. EDMC's standard training curriculum ensures that Career

    Services Advisors accurately report employment data. That training specifically warns

    about potential risk exposures, such as counting one job as two when the latter is just an

   update; accepting employments with no documentation that it was verified; and

   overestimating salaries in the cases where graduates or employers will not release exact

    information. Career Services Advisors are taught to note suspicious reporting data and



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   contact managers for guidance. EDMC has written policies that require all errors or

    suspicious data be emailed to the Career Services Advisor and Director of Career

    Services at the affected school and that further investigation be conducted until the

   anomaly is corrected or explained. Moreover, students themselves are also encouraged to

   provide accurate infom1ation to Career Services for its records. Compliance procedures

   also verify accuracy of statistics. Career Services Advisors must obtain placement

   documentation to verify the statistics they use, and department supervisors check the

   accuracy of all information submitted by advisors and confirm that verifications are

    documented. Data are further audited by EDMC's Internal Audit Department. During a

   standard school audit, auditors randomly select career services files and verify

   employment and salary data.


   EDMC's policies and procedures for verifying and approving job placement statistics,

    including the multiple levels of review designed to ensure accuracy in reporting that data

   are effective in practice. For example, Ms. Bittel's own career services placement

   portfolio revealed instances of job placements she submitted that were identified by her

   supervisors to be of a questionable nature. This data was captured through EDMC's

   standard operating processes, investigated, and ultimately rejected by supervisors through

   the course of routine reviews.




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    Upon learning of the allegations regarding job placement statistics made by Ms. Bittel,

    EDMC conducted an internal investigation and sought the cooperation of Ms. Bittel (she

    refused to provide specific information about her allegations). The investigation found

    no support for her claims of undue pressure placed upon Career Services Advisors at

    EDMC Online Higher Education to meet placement goals or falsely verify graduates'

    employment was related to their tield of study. Outside counsel to EDMC subsequently

    conducted a second investigation, including document review and interviews of more

    than twenty employees, including all ofMs. Bittel's fellow Career Services Advisors and

    supervisors at EDMC Online Higher Education. That investigation similarly found no

    support for the claims that EDMC had pressured employees to violate placement policies

    and procedures and found no confirmed instances in which the examples you cited from

    Ms. Bittel actually ended up in EDMC's publicly reported job placement data.


    Conclusion


    After reasonable and diligent inquiry, the Litigation Committee has determined in good

    faith and in the exercise of its business judgment that it would not be in the best interest

    of the Company or its shareholders to take the actions requested with respect to the Letter

    of Credit Claim and Fraudulent Job Placement Claim in the Demand Letters. Further, the

   Litigation Committee has concluded that EDMC has appropriate internal controls, and

   well designed policies and procedures, to address the specific risks identified in the

   Demand Letters.



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    As noted above, our investigation into certain aspects of the Title IV Claims is ongoing.

    We will provide you with a written summary ofthe findings ofthe Committee's

    investigation as soon as it is complete. In the interim, to the extent that you have factual

    evidence that you believe will assist the Litigation Committee in its efforts, please do not

    hesitate to contact me.


    Sincerely,

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    R. Todd Cronan




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  May 16,2012


  VIA E-MAIL & FIRST CLASS MAIL

  Jay W. Eisenhofer, Esq.
  Grant & Eisenhofer, P .A.
  485 Lexington A venue
  New York, NY 10017


   Re:       Shareholder Demand of Oklahoma Law Enforcement Retirement System

   Dear Mr. Eisenhofer:


   I write on behalf of a committee of disinterested directors of the Board of Directors of

   Education Management Corporation (the "Litigation Committee" or the "Committee").


   In our March 6, 2012 letter, we substantively responded to allegations in certain demand

   letters sent by you, as counsel to the Oklahoma Enforcement Retirement System, a

   shareholder in Education Management Corporation ("EDMC"), dated August 19, 2011

   and January 19, 2012 (collectively, the "Demand Letters"). In particular, our March 6,

   2012 letter described the Litigation Committee's review of EDMC's system of internal

   controls and related the Committee's findings with respect to two claims in the Demand

   Letters, the ''Letter of Credit Claim'' and the "Fraudulent Job Placement Claim." Our

   letter also explained that the Committee was still investigating the Demand Letters'

   allegations that EDMC's compensation practices violated Title IV of the Higher




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   Education Act of 1965's ban on incentive compensation with respect to the compensation

   of admissions personnel (the '·Title IV Claims").


   The Litigation Committee is novv in the process of finalizing its investigation into the

   Title IV Claims and expects to have a substantive response to you shortly. In the

   meantime, if you have any factual evidence that you believe will assist the Litigation

    Committee in its efforts, please contact me as soon as possible.


    Sincerely,



    R. Todd Cronan




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   May 21,2012


   VIA E-MAIL & FIRST CLASS MAlL

   Jay W. Eisenhofer, Esq.
   Grant & Eisenhofer, P.A.
   485 Lexington A venue
   New York, NY 10017


   Re:       Shareholder Demand of Oklahoma Law Enforcement Retirement System

   Dear Mr. Eisenhofer:

   As you are aware, Goodwin Procter LLP represents a committee of disinterested directors
   of the Board of Directors of Education Management Corporation (the "Litigation
   Committee" or the "Committee").

    As I mentioned in my May 16, 2012 letter, the Litigation Committee is in the process of
    finalizing its investigation into the Title IV Claim.

   In the meantime, the Litigation Committee wants to know whether your client, the
   Oklahoma Law Enforcement Retirement System ("OLERS"), satisfies the continuous
   interest requirement necessary to maintain shareholder derivative standing under
   Pennsylvania law. See Cuker v. Mikalauskas, 692 A.2d 1042 (1997). Accordingly,
   please confirm that OLERS has owned and continues to own shares in EDMC.



   Sincerely,



    R. Todd Cronan




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   May 24, 2012


   VIA E-!VIAIL & FEDERAL EXPRESS

   Jay W. Eisenhofer, Esq.
   Grant & Eisenhofer, P.A.
   485 Lexington A venue
   New York, NY 10017


   Re:    Shareholder Demand of Oklahoma Law Enforcement Retirement Svstem

   Dear Mr. Eisenhofer:

           I am \\:riting on behalf of a committee of disinterested directors of the Board of
   Directors of E:ducation Management Corporation (the "Litigation Committee" or the
   "Committee"). This letter will supplement our prior response to you, dated March 6,
   2012, in connection with certain Demand Letters sent to Education Management
   Corporation ("EDMC" or the "Company"). The letters were sent by you on behalf of
   Oklahoma Law Enforcement Retirement System ("OLERS"), a purported shareholder in
   EDMC.

           As set forth in my March 6 letter, the Litigation Committee conducted an
   extensive review of the internal controls environment at EDMC, including the internal
   controls that apply to activities by employees in the Admissions, Career Services, and
   Financial Aid areas. The Litigation Committee determined that the Company has a
   robust set of internal controls that are properly designed to identify, deter and remediate
   the types of practices referred to in the Demand Letters sent on behalf of OLERS. The
   Litigation Committee also concluded that there has been no breach of the fiduciary duty
   owed by individual members ofEDMC's Board of Directors in connection with their
   oversight of the internal control systems in place at EDMC.

           These conclusions apply with particular force to the "Title IV claims" in the
   Demand Letters. The Demand Letters claim that EDMC's Admissions compensation
   plan. as applied and as implemented. violated the ban on incentive compensation in
   Higher Education Act of 1965.

          The Committee's investigation identified a series of internal controls that support
   the conclusion that EDMC's Board of Directors had a good faith basis to believe that the




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  Company's Admissions compensation plan, as designed and implemented, complied with
  Title IV. In addition, the Committee conducted an in-depth review of whether the
  compensation plan, as implemented, violated the Act. The Committee did not find
  factual support for this assertion. Indeed, the evidence developed through the
  investigation presents a compelling case to the contrary.

  SUMl\'1ARY OF ADDITIONAL FINDINGS ON TITLE            IV CLAIM

          I.         AS DESIGNED, EDMC'S COMPENSATION PLAN COMPLIED WITH THE
                     ACT

          In 1992, Congress amended Title IV of the Higher Education Act (the "Act") to
   preclude schools whose students receive federal student financial aid from paying
   employees incentive compensation based on student enrollment.

          In 2002, the Department of Education ("DOE") promulgated twelve "safe
   harbors" to the Act, which the DOE described as "compensation arrangements that do not
   run afoul of the incentive compensation prohibition" of the Act. 67 Fed. Reg. 67054.
   One of the safe harbors permitted colleges and universities to provide recruiters with
   salary or hourly wage adjustments based on the number of students enrolled, so long as
   student placement \Vas not the sole compensation factor:

                     Activities and arrangements that an institution may carry
                     out without violating the [Act] include, but are not limited
                     to:

                     (A)     The payment of fixed compensation, such as a fixed
                     annual salary or a fixed hourly wage, as long as that
                     compensation is not adjusted up or down more than twice
                     during any twelve month period, and any adjustment is not
                     based solely on the number of students recruited, admitted,
                     enrolled. or av,ardcd financial aid ....

   34 C.F.R.   ~   668.14(b)(22)(ii)(J\) (ell. July L 2003 to June 30, 2011) (the "Safe Harbor").

           Thus, the Safe Harbor permitted the recruiters' salaries to be adjusted based on
   student enrollments, provided that (I) recruiters' salaries were "fixed" and not adjusted




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   May 24, 2012
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   more than twice during any twelve month period; and (2) such adjustments were not the
   "sole" factor considered. 1

           After the Safe Harbor was promulgated in 2002, EDMC drafted and adopted a
   compensation plan (the '·Pian'') in accordance with that regulation. In developing the
   Plan, EDMC consulted two outside law tirms nationally recognized in education law.
   These firms vvere retained by EDMC to assist in drafting the Plan in accordance with the
   Act, including the Safe Harbors. Neither firm was apprised that another law firm was
   retained. Both firms independently confinned that the Plan, as designed, was in
   compliance with the Act and the Safe Harbors.

           As part of its investigation, the Committee interviewed the principal outside
   attorney who had been retained to advise on the design of the Plan. This attorney is an
   expert in Title IV issues and had advised numerous clients on the design and
   implementation of compensation plans. The attorney reiterated his opinion that EDMC's
   Plan, as designed, complied fully with the requirements ofthe Act.

            The Plan remained in place from July 1, 2003 until June 30, 2011. Throughout its
    time, the Plan maintained the same basic framework. Under the Plan, all ADAs were
    provided a fixed salary that was adjusted only twice per year and was not based (or not
    based "solely") on the number of students enrolled (i.e., on quantitative factors). Newly
    hired ADAs were not on the Plan. Their salaries were based exclusively on their prior
    experience and education and were subject to a six-month introductory period. As
    discussed further below, most ADAs employed between six months and 18 months were
    also not on the Plan. Their salaries were determined on the basis of qualitative factors
    alone, without regard to any quantitative factors. Only more senior ADAs (some ofthose
    employed 18 months and all of those employed longer than 18 months) were on the Plan.
    Those 1\D;\s· salaries were determined on both qualitative and quantitative factors and
    were adjusted to reflect the overall performance evaluation.

           Specifically, the Plan contained the following relevant features:

           First, ADAs were reviewed on, and awarded points for, "quality factors." Under
   the Plan, AD As were evaluated on five "quality factors," namely job knowledge,
   business practices and ethics, professionalism, customer service, and initiative. ADAs
   were assigned a rating for each factor, ranging from "5" (outstanding) to "1"


       On October 28, 20 I 0, the DOE amended its regulations to repeal the safe harbors, including Section
       668.14(b)(22)(ii)(i\). Those amendments went into effect in July, 2011. Prior to the Safe Harbor's
       repeal, EDMC implemented a new Admissions compensation plan that adhered to the requirements of
       the Act following the repeal ofthe Safe Harbors.




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   (unsatisl~1ctory). The follo\ving chart provides an overview ofthe quality factors, as
   taken from EDMC's Plan guidebook distributed to ADAs and managers:

                               Overview of Quality Factors
     Job Knowledge                   Adheres ro approve-d recruitment methods an-d practices. Knows
                                     the producr.s. Understands feilow enrolin~ent and educatton
                                     department functions and ob;ectives. Uses the enrolimen:
                                     systen'-5 and technoto9y correctly.
     Business Practices and Ethics   Den•onstrates sound :Jusiness einics anc business princioles in
                                     :.ervin9 prcsp.ecti\:e students ar.o aop!icGnts. :nclucLng
                                     ~cn;e\·erc·;e'lt o1· :11.:: Coi'';P iGncen= ..:::.o :es:
     Profession,-,lism               .:::..~'-Sis:s t:>rost::ec;i·;e s:ucems l:tncl applicants in a co.::Jpemtive
                                     n· c.n'ler. ·/·iii! n9 10 etssif;t 5t~;dents f:ISSiSJned to others [l;sciG)'S ,3
                                     '}O~itl\.'e attf~~dde in the 'l..'ork envlronrnent
     customer Service                ~·erve::.. orospective students. <7tpphcants and feilow e:rnp·o:~ee:s ;n
                                     a timely and accura'e manner 'vVorks to resolve issues and nc!s
                                     in a consurtmive sules ro'e in achieving posir.ive customer
                                     sGi;sfa ct:on.
     Initiative                      Evaluates, se:ects an<! appropriately ac's on various meth-c-ds
                                     and stmtegies for effectively and appropriately solving problems
                                     and meeting objectives before being aske-d or required to do so.
                                     Self-starting rather r.han pa~,s;ve'y complying witll nstrucnons or
                                     assiqnrnents.

    The points for each quality factor were totaled to determine ADAs' "quality points."
    Thus. ADAs" could receive between 5 and 25 quality points based on the quality factors
    re\'IeW.

            Second, ADAs were awarded "new student points." After quality points were
    determined, AD As were awarded "new student points" for students recruited over the
    previous period. Typically, AD As received three new student points for each student
    recruited. Characteristics of the student recruited, however, such as whether the student
    was from outside the United States, could affect the number of new student points
    awarded. EDMC Corporate Services would then centrally calculate the new student
    points for all ADAs.

            ]hire/. usinL: the -~~1i!!rix ... a baseline salarv was determined using new student
   wints and qualitv points avvarded to ADAs. For ADAs who were on the Plan, their
   basel inc salaries \\ere determined by finding the total new student points and total quality
   points on a chan known as the ''Matrix." The new student points were tracked on the
   Matrix's Y-axis, and the quality points were tracked on the X-axis. The intersecting
   point between the two totals determined an ADA's baseline salary.

           One guidebook distributed to all ADAs and their managers described the Matrix
   as follows:




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      ADA/Associate Annualized Salary Chart
      The combination of the total number of new student points and quality factor points
      determines the participant's annualized salary. (Adjustments may apply to this
      annualized salary-as applicable--for labor market, years of service and Associate
      management responsibilities.)

      The following chart provides annualized salaries based on new student points and
      quality factor points.




           As the above Matrix makes clear, baseline salaries for ADAs could not have been
  calculated without considering both the total quality points and the total new student
  points. Each time salaries were calculated, moreover, the Matrix required new quality
  points and new student points to be generated. Thus, by design, ADA salaries were never
  based "solely" on new student points, student starts, students enrolled, students recruited,
  or the like.

          The Matrix also makes clear that quality points significantly affected ADA
  compensation. For example. as the chart above demonstrates, the salary for an ADA
  earning no new student points could increase as much as 20 percent based on quality
  points alone (i.e .. from $26.000 to as much as $33,000).

          Fourth. the baseline salary could have been further adjusted. Once ADAs'
  baseline salaries were determined, they could have been adjusted upwards by three to 15



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   percent for AD As with at least two years of service; by $1,000 to $5,000 for ADAs who
   managed other ADAs or particular projects; and/or by five to 20 percent based on the
   cost of labor in a geographical area, as determined by the Economic Research Institute
   data on wage and salary differentials.

            The fact that ADA compensation was determined, in part, based on the number of
   students recruited does not itself violate the Act. The Safe Harbor specifically allowed
   for incentive based compensation iftwo criteria were met: (i) the compensation was
   ·:fixed;" and (ii) the compensation was "not based solely on the number of students
   recruited, admitted. enrolled, or awarded financial aid." 34 C.F.R. § 668.14(b)(22)(ii)(A)
   (emphasis added). The Plan met both of these requirements, as outside experts confirmed
   before the Plan was implemented.

           Based on the foregoing, the Committee determined that EDMC and its Board of
    Directors had a good faith basis to believe the Plan's design complied with the Act.

           II.    As IMPLEMENTED, EDMC's COMPENSATION PLAN COMPLIED WITH
                  THE ACT

           The Demand Letters assert the Plan as implemented violated the Act.
    Specifically, the claim is made that the Plan was a "sham" because ADAs were
    compensated "solely" on the number of new students enrolled in their programs.

            To assess how the Plan had been implemented historically, and to determine
    whether it was a "sham," the Litigation Committee conducted an extensive review of past
    practices at EDMC with regards to the implementation of the Plan. First, the Litigation
    Committee interviewed upper-level managers involved in designing, implementing, and
    administering the Plan. Second, the Litigation Committee interviewed current and
    former ADA managers who completed ADA reviews under the Plan. These interviews
    revealed no evidence in support of the "as implemented" allegations in the Demand
    Letters. Third, the Litigation Committee reviewed the internal controls that EDMC had
    in place to ensure that the Plan was implemented correctly. The review determined that
    appropriate internal controls were in place throughout the relevant period and that these
    controls were properly applied to ensure compliance with the Act.

                   A.     Evidence From Interviews Of Upper Management Employees

            The more than 30 EDMC employees interviewed included upper-level
    management personnel involved in designing and implementing the Plan. These
    interviews did not support the claims made in the Demand Letters. The interviews did
    not adduce facts indicating (or even suggesting) that members of senior management of




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   EDMC knew or were on notice that the Plan was a "sham" as implemented. In fact, the
   evidence developed through the investigation indicates the contrary.

           The quality factors used in the Plan were designed with the help of an outside
   human resources consultant to ensure appropriate checks and balances on the quantitative
   component of the Plan. When the Plan was rolled out, all Directors of Admissions and
   Senior Directors of Admissions were trained on how to assign the quality points and
   provided a guidebook that included rubrics detailing the specific behaviors that had to be
   demonstrated for AD As to meet or exceed expectations in each of the five quality factors.
   In addition, the task force had conference calls with Campus Presidents and Admissions
   Specialists on how to implement the Plan correctly. Following the initial roll out, proper
   implementation of the Plan was covered at a formal, central Director of Admissions
   training program or by individual, department-level training.

           ADAs also were provided guidebooks describing the Plan. These guidebooks
   included the quality factor rubrics. ADAs were required to sign ofithat they had
   received the guidebook. that they had been explained the key terms of the Plan (and any
   changes to the Plan), that they had been given an opportunity to ask questions about how
   the Plan worked, and that their questions had been answered. When slight variations
   were made to the Plan and a new version was reissued, managers and ADAs were
   retrained on the Plan and how to properly implement it.

           According to upper-level managers, the message during trainings about the
   relationship between the new student points and quality points was that the two were to
   be treated separately. None of the upper-level managers, based on their longstanding
   experience with EDMC and the Plan, considered the Plan a "sham" or believed that
   student recruitment was the ''sole'' compensation factor under the Plan.

           The upper-level managers interviewed also had no knowledge of reports that the
   quality l~lctors were not being assigned as the Plan required. ADAs could report any
   improper implementation to local Human Resources representatives, Campus Presidents,
   or through EDMC's compliance Hotline, which was available 24 hours a day, seven days
   a week. Improper implementation of the Plan could also have been identified during the
   multi-level review process, discussed further below. No upper-level manager
   interviewed was aware of any such reports or complaints.

                  B.     Evidence From Interviews Of ADA Managers

           The Litigation Committee also interviewed EDMC employees who had first-hand
   experience administering the Plan as managers in Admissions. These managers were
   chosen because of their longevity with EDMC and their experience with administering
   the Plan. The managers interviewed by the Litigation Committee collectively work or



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   have worked for each or the lour EDMC colleges, in both online and ground divisions.
   These employees included current and former Senior Directors of Admissions, Directors
   of Admissions, and Admissions Managers, all of whom managed AD As and reviewed
   ADAs under the Plan. Some of these Senior Directors of Admissions, Directors of
   Admissions, and Admissions Managers were themselves AD As reviewed under the Plan.
   These interviews were designed to elicit first-hand experiences from employees across
   EDMC, to cover a wide range oftime, and to elicit information from individuals with
   hands-on experience in applying the Plan to determine ADA compensation.

            Despite direct questioning about the allegations, not a single one of these ADA
   managers considered the Plan a "sham" or believed that student recruitment was the
   ··sole" compensation f~1ctor under the Plan. Indeed, many of the managers expressed
   anger. dismay. or frustration in response to these allegations. Based on the foregoing, the
   Conm1ittce concluded that allegations that the Plan was a "sham" or based "solely" on
   student recruitment were not corroborated.

                   C.     EDMC Had Appropriate Internal Controls In Place To Ensure
                          The Plan Was Implemented As Designed

            The Litigation Committee also reviewed the specific internal controls in place at
    EDMC relevant to the implementation and administration of the Plan. These controls
    included training and guidebooks on proper implementation of the Plan, a standardizing
    rc\iew process with f'orms. vetting of each ADA's quality factors review through a multi-
    level management revic\V process. a policy requiring that quality points be calculated
    prior to calculating new student points, and a policy providing ADAs and managers with
    the opportunity to anonymously report violations. Each of these controls is described
    below.

             ADAs and managers were provided guidebooks. EDMC issued guidebooks that
    described the Plan in detail and, notably, provided detailed instruction on how it should
    be implemented. As discussed above, the guidebooks clearly defined the quality factor
    rating criteria, as well as all other aspects of the Plan. The Committee found that the
    guidebooks were ubiquitous across EDMC schools. In fact, all ofthe managers
    intervic'vvcd specifically mentioned using the guidebooks' quality factor rubrics to rate
    AD1\s on quality factors. The guidebook's clear criteria and its widespread use further
    demonstrate that the Plan was being implemented as designed.

            Training emphasized that new student points and quality factors were separate.
    Interviewees almost uniformly described extensive training on the Plan, including emails,
    presentations, WebExs, in-person national trainings, and in-person local trainings. That
    training emphasized proper implementation of the Plan. Some interviewees, moreover,
    explained that the training stressed that quality factors should be treated separately and



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   distinctly from new student points and not as sunogates for new student points. Thus, the
   training stressed exactly the opposite of what the Demand Letters' allegations suggest.

             Use of templates encouraged consistent implementation. Managers at EDMC
   used a form that listed all of the quality factors and required that numerical ratings be
   justitied by written narratives. The use of these standardized review templates forced
   managers to consistently implement the Plan's quality factors review component and to
   justil)' their quality points with narratives based on non-student recruitment criteria.

           Managers' reviews were vetted through a multi-level approval process. Quality
   factors reviews were completed in the first instance by ADAs' immediate supervisors. In
   EDMC's ground schools, ADAs were directly supervised by a Director of Admissions or
   in some cases a Senior Director of Admissions. In EDMC's Online Higher Education
   Division ("OHE"), Admissions Managers usually completed the quality factors reviews.

          Once completed, managers submitted quality factors reviews to more senior
   management for approval. At ground schools, each ADA's quality factors review had to
   be approved by: (I) the Director or Senior Director of Admissions, (2) the Campus
   President (or Human Resources Director, at the Campus President's discretion), (3) an
   Admissions Specialist, and (4) EDMC's central Corporate Services. At OHE, each
   ADA's quality factors review had to be approved by: (1) a Director of Admissions, (2) a
   Senior Director of Admissions, (3) the Vice President of Admissions for OHE, (4)
   Human Resources, and (5) Corporate Services.

            The review process was not a rubber stamp. Employees interviewed described
    how upper management would critique their reviews if ratings were not suppmied by
    specific instances of conduct.

           Managers completed quality factors reviews before even knowing ADAs' new
   studcnt_points. Quality factors reviews were completed, approved, and submitted to
   EDMC Corporate Services before new student points were calculated and distributed to
   managers. After the quality factors reviews were submitted, each ADA's quality points
   were combined with that ADA's new student points calculation. Then a salary was
   determined using the Matrix with any further adjustments made based on location, tenure,
   or management responsibilities. This salary, together with an explanation for the basis of
   the salary, was returned by Corporate Services to managers in a salary and performance
   worksheet. Managers then reviewed the worksheet with the ADA, who signed offthat it
   had been discussed with the manager. This divided process-whereby quality factors




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   reviews were completed tirst and without knowledge of the new student points-ensured
   that new student points could not provide the basis for quality points. 2

          Internal Audit Departments Audited the Perfom1ance Review Process. Both of
   EDMC's internal audit divisions, the ground school and corporate-focused Internal Audit
   Department and OHE's Internal Controls and Compliance Depmiment, reviewed ADA
   performance reviews to make sure they were fully and timely completed, including
   making sure that quality points had been assigned and naiTatives were completed, that the
   ADA, the manager, and upper-level management had signed off on every review, and
   that ADAs were not reviewed more than two times per year.

           ADAs or managers could report violations through a compliance Hotline. EDMC
   has operated a compliance hotline through which employees could anonymously report
   compliance violations since 2003. Accordingly, if ADAs or managers believed that the
   Plan was not being implemented correctly, they could have reported those violations
   through the hotline. A review of nearly three years' worth of Hotline data, however, did
   not reveal any complaints that the Plan or the quality factors were a "sham" or based
   "solely" on new student points. The lack of real-time complaints further underscores the
   absence of evidence that the Plan was not implemented as it was designed.

           III.     MISCELLANEOUS TITLE IV ALLEGATIONS

             The Demand Letters make other allegations regarding admissions practices at
    EDMC. Specitically, the Demand Letters allege that (i) ADAs are given commissions,
    bonuses and awards based solely on obtaining new student enrollments; (ii) ADAs enroll
    students without thoroughly reviewing their academic transcripts and admissions
    materials in order to determine whether they are qualified to attend the particular EDMC
    institution or online program; and (iii) ADAs pressure prospective students into accepting
    or changing financial aid packages or into expanding those financial aid packages to
    cover full-time tuition. The Litigation Committee found no basis to support these
    allegations.

             For example. the Demand Letters allege that EDMC provided admissions
    personnel with all-expense-paid vacations and gifts based on student recruitment.
    llistorically. EDi'v'IC's employees have been recognized for performance through
    company-vvide programs. such as the President's Club and Top Achievers' Club. These
    programs included an annual all-expense-paid trip to an off-site location for a training

        One upper-level manager explained that it was not possible to accurately guess new student points in
        advance of receiving the calculation from Corporate Services because AD As did not have any
        knowledge of which students were backed out of the calculation due to lack of attendance. He
        estimated that, historically, some schools have had back out rates as high as 15 to 20 percent.




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   program. Neither of these programs nor any similar program is currently in effect, and
   they have not been since around 2008 or 2009. More fundamentally, these programs did
   not violate the Act. In 1995, EDMC and other educational institutions sought guidance
   from the DOE on whether the Act would "prohibit an institution from paying the travel
   and related business expenses incurred by its employees for attendance at annual business
   meetings, when only the institution's top recruiters are invited to such meetings." See
   Letter from Dept. of Educ. Deputy Director, dated Feb. 6, 1995. In a February 6, 1995
   letter. the Department advised that "paying for the travel and related expenses incurred
   for attendance at such business meetings would not be in violation of' the incentive
   compensation provision of the Act. !d.

           Moreover, during the Department of Justice's review ofEDMC's compensation
   practices in 2000 and 2001, EDMC described the President's Club program, provided
   numerous documents regarding the program, and expressed its opinion that the program
   was proper pursuant to the Department's February 6, 1995 letter. The Government never
   refuted EDMC's position regarding the President's Club or took regulatory action over
   the President's Club. Indeed, following EDMC's explanation, the Government dropped
   its review without requesting any change in compensation practices. Thus, there is no
   merit to the claim that the President's Club and similar programs violated the Act.

           The Demand Letters allege that ADAs enroll unqualified students in order meet
   student enrollment quotas. The investigation revealed that this allegation is without
   merit. While ADAs recruit students, they have no role in setting admissions
   requirements or determining whether a student meets those requirements or should be
   enrolled. All admissions decisions are made by a separate department or committee, such
   as a school's Registrar. This is why interviewees described this allegation as "weird,"
   "impossible," "absurd," the "furthest thing from the truth," and "nonsense."

           The Demand Letters also allege that ADAs encouraged prospective students to
   accept umvantcd financial aid packages or switch from full time to part time in order to
   have tuition covered by financial aid. The investigation found no support for this
   allegation. Financial aid determinations are not made by ADAs; rather a financial aid
   counselor works with prospective students to determine the amount of financial aid for
   which a prospective student will qualify. EDMC considers it a compliance violation for
   ADAs to be involved in financial aid determinations or talk with students about financial
   aid possibilities.

   CONCLUSION

           This letter confirms that the Litigation Committee has determined, in good faith
   and in the exercise of its business judgment, that it would not be in the best interests of
   EDMC or its shareholders to take the actions requested in the Demand Letters. Further,



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  May 24,2012
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  the Committee has concluded that EDMC has appropriate internal controls, and
  supporting policies and procedures. to address the specific risks identified in the Demand
  Letters.

  Sincerely,




  R. Todd Cronan




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                                                        May24, 2012



           VIA EMAIL AND OVERNIGHT MAIL

           R. Todd Cronan, Esquire
           Goodwin Procter LLP
           Exchange Place
           Boston, MA 02109

                     Re:        Shareholder Demand For Board Action

            Dear Mr. Cronan:

                  This firm represents the Oklahoma Law Enforcement Retirement System ("OLERS"), a
           holder of common stock of Education Management Corporation ("EDMC" or the "Company"),
           in connection with the demands OLERS made on the EDMC Board of Directors ("Board"),
           dated August 19, 2011 and January 19, 2012 (collectively, the "Demands"). I write to respond to
           your May 17, 2012 letter, wherein you invited me to contact you if I was interested in providing
           the Board's Litigation Committee with information relating to the Title IV aspect of the
           Demands.

                     I am a bit surprised by your invitation given that I have previously told you - most
            recently in my January 19, 2012 letter      that OLERS was willing to participate in the
            Committee's investigation. While you have extended the invitation more than once to provide
            the Committee with information, you have never actually followed up on my past acceptances of
            the invitation.

                   As I have said before, OLERS is willing to participate in the Committee's investigation.
            What it is not willing to do is to refrain from pursuing redress on its own given the glacial pace at
            which the Committee has moved. On May 21, 2012, we filed a derivative case to address the
            claims for which the Committee has either explicitly or tacitly rejected OLERS' demand. I
            enclose a copy of the complaint for your review.




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        If you are still interested in meeting with us, please contact me with the details of your
availability.



                                             Very truly yours,

                                            lrijli0fl
                                            (,,/   i/
                                                           ~-
                                             Jay W. Eisenhofer

JvVE/pmk
Enclosure




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